      Case 1-19-01133-cec       Doc 17    Filed 12/11/19     Entered 12/11/19 16:44:59




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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK

 In re:

 SUFFOLK REGIONAL OFF-TRACK                            Chapter 9
 BETTING CORPORATION,                                  Case No. 12-43503-CEC

                           Adjusted Debtor.

 SUFFOLK REGIONAL OFF-TRACK
 BETTING CORPORATION,

 Plaintiff,

 v.                                                    A.P. No. 19-01133-CEC

 DELAWARE NORTH COMPANIES, INC.,                       (Jury Trial Demanded)
 DELAWARE NORTH COMPANIES GAMING &
 ENTERTAINMENT, INC., DNC GAMING
 MANAGEMENT IN SUFFOLK, LLC, and
 DELAWARE NORTH ISLANDIA PROPERTIES,
 LLC,

 Defendants.


         SUFFOLK REGIONAL OFF-TRACK BETTING CORPORATION’S
      MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
        Case 1-19-01133-cec                     Doc 17          Filed 12/11/19              Entered 12/11/19 16:44:59




                                                    TABLE OF CONTENTS

                                                                                                                                           Page

PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................7

          I.          Suffolk OTB Relies on Delaware North’s Expertise and Specialized
                      Knowledge to Manage the VLT Facility at Jake’s 58 .............................................7

                 A.        The Medford VLT Facility Hits Roadblocks and Delaware North
                           Hatches Its Scheme ........................................................................................... 9

                 B.        The DMS Agreement Confirms Delaware North’s Obligations to
                           Suffolk OTB.................................................................................................... 10

                 C.        Suffolk OTB and Delaware North Begin Construction of the Islandia
                           VLT Facility.................................................................................................... 11

          II.         Delaware North’s Knowing Pattern of Enriching Itself at Suffolk OTB’s
                      Expense ..................................................................................................................11

                 A.        Delaware North Overcharges Suffolk OTB Millions in Construction
                           Costs................................................................................................................ 11

                 B.        Delaware North Falsely Claims Ownership of Suffolk OTB’s
                           Trademarks and Service Marks ...................................................................... 13

                 C.        Delaware North Overcharges Suffolk OTB for Rent and Utilities ................. 13

                 D.        Delaware North Takes Advantage of Suffolk OTB’s Marketing
                           Allowance to Enrich Itself .............................................................................. 14

                 E.        Delaware North Incurs Gaming Commission Fines and Refuses to Pay
                           Them ............................................................................................................... 16

          III.        Delaware North Conceals Its Self-Dealing from Suffolk OTB in Bad Faith ........17

          IV.         Delaware North Defaults on its Obligations under the DMS Agreement
                      and Suffolk OTB Files This Lawsuit .....................................................................17

ARGUMENT .................................................................................................................................18

          I.          SUFFOLK OTB HAS STATED A CLAIM FOR VIOLATIONS OF THE
                      NEW YORK FALSE CLAIMS ACT, N.Y. FIN. LAW § 187, et seq.
                      (FIRST CAUSE OF ACTION) ..............................................................................18




                                                                 -i-
Case 1-19-01133-cec                    Doc 17          Filed 12/11/19              Entered 12/11/19 16:44:59




        A.        Suffolk OTB Has Pled Its NYFCA Claim with the Requisite
                  Particularity ..................................................................................................... 19

        B.        Suffolk OTB Has Not Engaged in Impermissible “Group Pleading”............. 23

        C.        Suffolk OTB Has Adequately Pled Knowledge, Falsity and Materiality ....... 26

        D.        Suffolk OTB Has Pled the Existence of Hundreds of False “Claims” as
                  Required by the NYFCA ................................................................................ 31

        E.        Delaware North’s Liability under Sections 189(1)(d), (g) and (h)
                  Preclude it from Escaping Liability on Its Baseless “Claim” Argument ........ 33

 II.         THE COMPLAINT STATES A CLAIM FOR BREACH OF
             CONTRACT (SECOND CAUSE OF ACTION) ..................................................36

        A.        DNC Gaming Is Liable for Delaware North’s Breach of Contract ................ 36

        B.        Suffolk OTB’s Contract Claims Regarding Construction Costs,
                  Trademarks and Suffolk OTB’s Consent Survive as a Matter Of Law .......... 38

 III.        SUFFOLK OTB HAS STATED A CLAIM FOR BREACH OF
             FIDUCIARY DUTY ..............................................................................................43

        A.        Suffolk OTB Has Pled Delaware North Manager’s Fiduciary Duty .............. 43

        B.        Suffolk OTB’s Breach of Fiduciary Duty Claim is Not Duplicative of
                  Its Breach of Contract Claims ......................................................................... 48

        C.        The Economic Loss Doctrine Does Not Bar Suffolk OTB’s Breach of
                  Fiduciary Duty Claim at the Pleading Stage ................................................... 50

        D.        Suffolk OTB’s Aiding and Abetting Breaches of Fiduciary Duty Claim
                  Also Survives Dismissal ................................................................................. 52

 IV.         PLAINTIFF’S UNJUST ENRICHMENT CLAIM SURVIVES
             DISMISSAL ..........................................................................................................53

 V.          PLAINTIFF’S ALLEGATIONS STATE A BASIS TO PIERCE THE
             CORPORATE VEIL (SEVENTH CAUSE OF ACTION) ...................................57

        A.        Suffolk OTB’s Veil Piercing Allegations Must Be Evaluated on the
                  Merits .............................................................................................................. 58

        B.        Suffolk OTB’s Veil Piercing Allegations Surpass the Plausibility
                  Threshold and Survive Dismissal ................................................................... 59




                                                             -ii-
        Case 1-19-01133-cec                   Doc 17         Filed 12/11/19             Entered 12/11/19 16:44:59




          VI.        SUFFOLK OTB’S CLAIM FOR A DECLARATORY JUDGMENT ON
                     TERMINATION OF THE DMS AGREEMENT IS NOT SUBJECT TO
                     ANY CONDITION PRECEDENT (EIGHTH CAUSE OF ACTION).................64

          VII.       PLAINTIFF’S REQUEST FOR AN ACCOUNTING IS PROPER AND
                     SUFFICIENTLY PLED (NINTH CAUSE OF ACTION) ....................................66

          VIII.      JUSTICE REQUIRES LEAVE TO AMEND TO ADDRESS ANY
                     ACTUAL PLEADING DEFICIENCIES IDENTIFIED BY THE COURT .........69

CONCLUSION ..............................................................................................................................70




                                                                  -iii-
        Case 1-19-01133-cec                   Doc 17         Filed 12/11/19             Entered 12/11/19 16:44:59




                                               TABLE OF AUTHORITIES


Cases
17 Vista Fee Assocs. V. Teachers Ins. & Annuity Assoc. of Am.,
  259 A.D.2d 75 (N.Y. App. Div. 1999) ..................................................................................... 51
300 Broadway Realty Corp. v. Kommit,
  235 N.Y.S.2d 205 (1962) .......................................................................................................... 67
37 E. 50th St. Corp. v. Rest. Grp. Mgmt. Servs., LLC,
  156 A.D.3d 569 (N.Y. App. Div. 2017) ................................................................................... 48
532 Madison Ave. Gourmet Foods, Inc. v. Finlandia Ctr., Inc.,
  96 N.Y.2d 280 (2001) ............................................................................................................... 50
7-Eleven, Inc. v. Khan,
  977 F. Supp. 2d 214 (E.D.N.Y. 2013) ................................................................................ 65, 66
A.V.E.L.A., Inc. v. The Estate of Marilyn Monroe, LLC,
  2018 U.S. Dist. LEXIS 35536 (S.D.N.Y. Mar. 5, 2018) .......................................................... 62
Abercrombie v. Andrew Coll.,
  438 F. Supp. 2d 243 (S.D.N.Y. 2006) ...................................................................................... 47
Alexander v. Wheeler,
  64 A.D.2d 837 (N.Y. App. Div. 1978) ..................................................................................... 36
Ambac Assurance Corp. v. U.S. Bank Nat’l Ass’n,
  328 F. Supp. 3d 159 (S.D.N.Y. 2018) ...................................................................................... 51
Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................. 18
Asian Vegetable Research & Dev. Ctr. v. Inst. of Int’l Educ.,
  944 F. Supp. 1169 (S.D.N.Y. 1996) ......................................................................................... 48
Associated Mortg. Bankers, Inc. v. Calcon Mut. Mortg. LLC,
  159 F. Supp. 3d 324 (E.D.N.Y. 2016) ...................................................................................... 68
Banks v. Corr. Servs. Corp.,
  475 F. Supp. 2d 189 (E.D.N.Y. 2007) ...................................................................................... 67
Battery Assocs., Inc. v. J & B Battery Supply, Inc.,
  944 F. Supp. 171 (E.D.N.Y. 1996) ........................................................................................... 36
Bd. of Mgrs of Fairways at N. Hills Condo. v Fairway at N. Hills,
  193 A.D.2d 322 (N.Y. App. Div. 1993) ............................................................................... 5, 45
Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................................. 18
Blair v. Infineon Techs. AG,
  720 F. Supp. 2d 462 (D. Del. 2010) .......................................................................................... 58



                                                             -iv-
        Case 1-19-01133-cec                   Doc 17         Filed 12/11/19            Entered 12/11/19 16:44:59




Blue Bell, Inc. v. W. Glove Works Ltd.,
  816 F. Supp. 236 (S.D.N.Y. 1993) ........................................................................................... 65
Bridgeway Corp. v. Citibank, N.A.,
  132 F. Supp. 2d 297 (S.D.N.Y. 2001) ...................................................................................... 55
Bristol–Myers Squibb Co. v. Matrix Labs. Ltd.,
  655 F. App’x 9 (2d Cir. 2016) .................................................................................................. 35
Brown v. Miguens,
  No. 02 Civ. 5278 (JSM), 2003 WL 1090304 (S.D.N.Y. Mar. 11, 2003) ................................. 37
Bull HN Info. Sys. Inc. v. Am. Exp. Bank Ltd.,
  No. 88 Civ. 2103 (SWK), 1990 WL 48098 (S.D.N.Y. Apr. 6, 1990) ........................................ 1
Bullmore v. Banc of Am. Sec. LLC,
  485 F. Supp. 2d 464 (S.D.N.Y. 2007) ...................................................................................... 49
Cal Distrib., Inc. v. Cadbury Schweppes Americas Beverages, Inc.,
  No. 06 Civ. 0496 (RMB) (JCF), 2007 WL 54534 (S.D.N.Y. Jan. 5, 2007) ............................. 55
Carvel Corp. v. Diversified Mgmt. Group, Inc.,
  930 F.2d 228 (2d Cir. 1991) ..................................................................................................... 41
Chambers v. Time Warner, Inc.,
  282 F.3d 147 (2d Cir. 2002) ..................................................................................................... 18
Chelsea Grand LLC v. Interstate Hotels & Resorts, Inc.,
  No. 09 Civ. 924 (PAC), 2017 WL 1214874 (S.D.N.Y. Mar. 30, 2017) ................................... 45
Commerce & Indus. Ins. Co. v. Vulcraft, Inc.,
  No. 97 Civ. 2578 (DAB) (MHD), 1998 WL 823055 (S.D.N.Y. Nov. 20, 1998) ..................... 51
Commerzbank AG v. U.S. Bank Nat’l Ass’n.,
  277 F. Supp. 3d 483 (S.D.N.Y. 2017) ...................................................................................... 51
Commonwealth ex rel. FX Analytics v. Bank of N.Y. Mellon,
  84 Va. Cir. 473 (2012) .............................................................................................................. 32
Cookware Co. (USA), LLC v. Austin,
  No. 15 CIV. 5796 (DAB), 2017 WL 5198388 (S.D.N.Y. Oct. 26, 2017) ................................ 60
Crespo v. S.C. Johnson & Son,
  394 F. Supp. 3d 260 (E.D.N.Y. 2019) ...................................................................................... 25
Darlagiannis v. Darlagiannis,
  48 A.D.2d 875 (N.Y. App. Div. 1975) ..................................................................................... 67
DiTerlizzi v. DiTerlizzi,
  92 A.D.2d 604 (N.Y. App. Div. 1983) ..................................................................................... 67
DiVittorio v. Equidyne Extractive Indus.,
  822 F.2d 1242 (2d Cir. 1987) ................................................................................................... 24
Don King Prods., Inc. v. Douglas,
  742 F. Supp. 741 (S.D.N.Y. 1990) ........................................................................................... 42



                                                                  -v-
        Case 1-19-01133-cec                  Doc 17         Filed 12/11/19            Entered 12/11/19 16:44:59




Donzella v. New York State Thruway Auth.,
  7 A.D.2d 771 (N.Y. App. Div. 1958) ....................................................................................... 36
E*Trade Fin. Corp. v. Deutsche Bank AG,
  No. 05 Civ. 0902, 2008 WL 2428225 (S.D.N.Y. June 13, 2008)............................................. 43
Emerald Town Car of Pearl River, LLC v. Phila. Indem. Ins. Co.,
  No. 16 Civ. 1099 (NSR), 2017 WL 1383773 (S.D.N.Y. Apr. 12, 2017) ................................. 51
Evans v. Perl,
  862 N.Y.S.2d 814 (N.Y. Sup. Ct. 2008) ................................................................................... 67
Fantozzi v. Axsys Techs., Inc.,
  No. 07 Civ. 02667 (LMM), 2008 WL 4866054 (S.D.N.Y. Nov. 6, 2008) ............................... 43
Fletcher v. Atex, Inc.,
  68 F.3d 1451 (2d Cir. 1995) ..................................................................................................... 59
Gao v. JPMorgan Chase & Co.,
  No. 14 Civ. 4281 (PAC), 2015 WL 3606308 (S.D.N.Y. June 9, 2015) ................................... 25
Gen. Corp. v. Wellington Adv.,
  82 N.Y.2d 158 (1993) ......................................................................................................... 46, 47
Genovese Drug Stores, Inc. v. Connecticut Packing Co.,
  732 F.2d 286 (2d Cir. 1984) ..................................................................................................... 37
Giuffre v. Hyundai Motor Am.,
  756 F.3d 204 (2d Cir. 2014) ..................................................................................................... 66
Glidepath Holding B.V. v. Spherion Corp.,
  590 F. Supp. 2d 435 (S.D.N.Y. 2007) ...................................................................................... 53
GLM Corp. v. Klein,
  665 F. Supp. 283 (S.D.N.Y. 1987) ........................................................................................... 46
Golden Pac. Bancorp v. F.D.I.C.,
  273 F.3d 509 (2d Cir. 2001) ..................................................................................................... 54
Grabcheski v. Am. Int’l Grp., Inc.,
  687 F. App’x 84 (2d Cir. 2017) ................................................................................................ 29
Hard Rock Cafe Int’l, (USA), Inc. v. Hard Rock Hotel Holdings, LLC,
  808 F. Supp. 2d 552 (S.D.N.Y. 2011) .......................................................................... 41, 42, 43
Herrera v. Eastside Wok, Inc.,
  No. 13 Civ. 9137 (JLC), 2014 WL 6678281 (S.D.N.Y. Nov. 25, 2014) ............................ 36, 37
Hochman v. LaRea,
  14 A.D.3d 653 (N.Y. App. Div. 2005) ..................................................................................... 54
Hydro Inv’rs, Inc. v. Trafalgar Power Inc.,
  227 F.3d 8 (2d Cir. 2000) ......................................................................................................... 51
IMG Fragrance Brands, LLC v. Houbigant, Inc.,
  679 F. Supp. 2d 395 (S.D.N.Y. 2009) ...................................................................................... 67



                                                                 -vi-
        Case 1-19-01133-cec                  Doc 17         Filed 12/11/19            Entered 12/11/19 16:44:59




In re Aluminum Warehousing Antitrust Litig.,
   2015 U.S. Dist. LEXIS 26412 (S.D.N.Y. Mar. 4, 2015) .......................................................... 26
In re Bank of N.Y. Mellon Corp. False Claims Act Foreign Exch. Litig.,
   851 F. Supp. 2d 1190 (N.D. Cal. 2012) ........................................................................ 32, 33, 34
In re Bank of N.Y. Mellon Corp. Forex Transactions Litig.,
   991 F. Supp. 2d 479 (S.D.N.Y. 2014) .......................................................................... 32, 33, 34
In re Best Film & Video Corp.,
   46 B.R. 861 (Bankr. E.D.N.Y. 1985).................................................................................. 65, 66
In re Buckhead Am. Corp.,
   178 B.R. 956 (D. Del. 1994) ..................................................................................................... 58
In re Cardiac Devices Qui Tam Litig.,
   221 F.R.D. 318 (D. Conn. 2004) .............................................................................................. 28
In re Ski Train Fire in Kaprun, Austria on Nov. 11, 2000,
   342 F. Supp. 2d 207 (S.D.N.Y. 2004) ..................................................................................... 62
Int’l Council of Shopping Ctrs., Inc. v. Info Quarter, LLC,
   No. 17-CV-5526 (AJN), 2018 WL 4284279 (S.D.N.Y. Sept. 7, 2018) ............................. 60, 62
Int’l Credit Brokerage Co. v. Agapov,
   249 A.D.2d 77 (N.Y. App. Div. 1998) ..................................................................................... 58
JPMorgan Chase Bank, N.A. v. IDW Grp., LLC,
  No. 08 Civ. 9116 (PGG), 2009 WL 321222 (S.D.N.Y. Feb. 9, 2009) ..................................... 46
JSC Foreign Econ. Ass’n Technostroyexport v. Int’l Dev. & Trade Srvs., Inc.,
  386 F. Supp. 2d 461 (S.D.N.Y. 2005) ...................................................................................... 63
Kalb, Voorhis & Co. v. Am. Fin. Corp.,
  8 F.3d 130 (2d Cir. 1993) ......................................................................................................... 59
Kane ex rel. United States v. Healthfirst, Inc.,
  120 F. Supp. 3d 370 (S.D.N.Y. 2015) .......................................................................... 19, 27, 35
Kawski v. Johnson & Johnson, No. 04-CV-6208 CJS,
  2005 WL 3555517 (W.D.N.Y. Dec. 19, 2005) ................................................................... 57, 62
Key Items, Inc. v. Ultima Diamonds, Inc.,
  No. 09 Civ. 3729 (HBP), 2010 WL 3291582 (S.D.N.Y. Aug. 17, 2010) ................................. 58
Levine v. Prudential Bache Properties, Inc.,
  855 F. Supp. 924 (N.D. Ill. 1994) ............................................................................................. 25
Liberty Synergistics, Inc. v. Microflo Ltd.,
  50 F. Supp. 3d 267 (E.D.N.Y. 2014) ........................................................................................ 63
Lumbermens Mut. Cas. Co. v. Franey Muha Alliant Ins. Servs.,
  388 F. Supp. 2d 292 (S.D.N.Y. 2005) ...................................................................................... 46
MAG Portfolio Consultant, GMBH v. Merlin Biomed Grp., LLC,
 268 F.3d 58 (2d Cir. 2001) ....................................................................................................... 59



                                                                 -vii-
        Case 1-19-01133-cec                  Doc 17        Filed 12/11/19            Entered 12/11/19 16:44:59




Mathias v. Jacobs,
 238 F. Supp. 2d 556 (S.D.N.Y. 2002) ...................................................................................... 55
McAnaney v. Astoria Fin. Corp.,
 665 F. Supp. 2d 132 (E.D.N.Y. 2009) ...................................................................................... 62
MGR Meats, Inc. v. Schweid,
 No. 10-CV-3068 MKB, 2012 WL 6675123 (E.D.N.Y. Dec. 21, 2012) ................................... 56
Mid-Hudson Catskill Migrant Ministry, Inc. v. Fine Hosp. Corp.,
  418 F.3d 168 (2d Cir. 2005) ..................................................................................................... 56
Mobil Oil Corp. v. Linear Films, Inc.,
 718 F. Supp. 260 (D. Del. 1989) ............................................................................................... 64
Monahan v. N.Y.C. Dep’t of Corr.,
 214 F.3d 275 (2d Cir. 2000) ..................................................................................................... 69
Moses v. Martin,
 360 F. Supp. 2d 533 (S.D.N.Y. 2004) ...................................................................................... 62
N. Shipping Funds I, LLC v. Icon Capital Corp.,
  921 F. Supp. 2d 94 (S.D.N.Y. 2013) ........................................................................................ 46
N.Y.C. v. Tavern on the Green Int’l LLC,
  351 F. Supp. 3d 680 (S.D.N.Y. 2018) ...................................................................................... 66
Newman & Schwartz v. Asplundh Tree Expert Co.,
  102 F.3d 660 (2d Cir. 1996) ..................................................................................................... 55
Ningbo Prods. Imp. & Exp. Co. v. Eliau,
  2011 U.S. Dist. LEXIS 125789 (S.D.N.Y. Oct. 31, 2011) ....................................................... 64
NYKCool A.B. v. Pac. Fruit, Inc.,
  507 F. App’x 83 (2d Cir. 2013) .......................................................................................... 36, 37
Panam Mgmt. Grp., Inc. v. Peña,
  No. 08 Civ. 2258 (JFB) (ARL), 2011 WL 3423338 (E.D.N.Y. Aug. 4, 2011) ........................ 59
Pegler v. NRG Residential Solar Sols. LLC,
  No. 17 Civ. 4319 (LGS), 2018 WL 1033232 (S.D.N.Y. Feb. 20, 2018) .................................. 37
Penato v. George,
  52 A.D.2d 939 (N.Y. App. Div. 1976) ..................................................................................... 45
Pension Comm. of Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC,
  652 F. Supp. 2d 495 (S.D.N.Y. 2009) ...................................................................................... 53
People ex rel. Schneiderman v. Bank of N.Y. Mellon Corp.,
  40 Misc. 3d 1232(A), 977 N.Y.S.2d 668 (N.Y. Sup. 2013) ..................................................... 32
Picture Patents, LLC v. Aeropostale, Inc.,
  No. 07 Civ. 5567 (JGK), 2009 WL 2569121 (S.D.N.Y. Aug. 19, 2009) ................................. 55
Press v. Chem. Inv. Servs. Corp.,
  166 F.3d 529 (2d Cir. 1999) ..................................................................................................... 30



                                                               -viii-
        Case 1-19-01133-cec                   Doc 17         Filed 12/11/19            Entered 12/11/19 16:44:59




Robinson Redevelopment Co. v. Anderson,
  155 A.D.2d 755 (N.Y. App. Div. 1989) ................................................................................... 52
Robles v. Copstat Sec., Inc.,
  No. 08 Civ. 9572 (SAS), 2009 WL 4403188 (S.D.N.Y. Dec. 2, 2009).................................... 58
Rothman v. Gregor,
  220 F.3d 81 (2d Cir. 2000) ....................................................................................................... 18
S.E.C. v. Cavanagh,
  445 F.3d 105 (2d Cir. 2006) ..................................................................................................... 68
Saul v. Cahan,
  153 A.D.3d 947 (N.Y. App. Div. 2017) ................................................................................... 46
Schiavone Constr. Co. v. Mayo Corp.,
  56 N.Y.2d 667 (1982) ............................................................................................................... 50
SCS Commc’ns, Inc. v. Herrick Co., Inc.,
  360 F.3d 329 (2d Cir. 2004) ..................................................................................................... 52
Sec. Inv’r Prot. Corp. v. Stratton Oakmont, Inc.,
  234 B.R. 293 (Bankr. S.D.N.Y. 1999) ...................................................................................... 58
Sentry Ins. A. Mut. Co. v. Brand Mgmt. Inc.,
  120 F. Supp. 3d 277 (E.D.N.Y. 2015) ................................................................................ 59, 63
Sofi Classic S.A. de C.V. v. Hurowitz,
  444 F. Supp. 2d 231 (S.D.N.Y. 2006) ................................................................................ 54, 55
Southland Corp. v. Mir,
  748 F. Supp. 969 (E.D.N.Y. 1990) ........................................................................................... 65
Space, Inc. v. Simowitz,
  No. 08 Civ. 2854 (SAS), 2008 WL 2676359 (S.D.N.Y. July 8, 2008) .................................... 55
St. John’s Univ. v. Bolton,
   757 F. Supp. 2d 144 (E.D.N.Y. 2010) .......................................................................... 49, 52, 56
Suffolk Laundry Servs., Inc. v. Redux Corp.,
  238 A.D.2d 577 (N.Y. App. Div. 1997) ................................................................................... 50
Surge Licensing, Inc. v. Copyright Promotions, Ltd.,
  258 A.D.2d 257 (N.Y. App. Div. 1999) ................................................................................... 46
Szulik v. Tagliaferri,
  966 F. Supp. 2d 339 (S.D.N.Y. 2013) ...................................................................................... 53
Threeline Imports, Inc. v. Vernikov,
  239 F. Supp. 3d 542 (E.D.N.Y. 2017) ...................................................................................... 54
U.S. ex rel. Corp. Compliance Assocs. v. N.Y. Soc’y for the Relief of the Ruptured & Crippled,
  Maintaining the Hosp. for Special Surgery,
  2014 U.S. Dist. LEXIS 109786 (S.D.N.Y. Aug. 7, 2014) ........................................................ 26
Union Carbide Corp. v. Montell N.V.,
  944 F. Supp. 1119 (S.D.N.Y. 1996) ......................................................................................... 59


                                                                  -ix-
        Case 1-19-01133-cec                   Doc 17         Filed 12/11/19            Entered 12/11/19 16:44:59




United Feature Syndicate, Inc. v. Miller Features Syndicate, Inc.,
  216 F. Supp. 2d 198 (S.D.N.Y. 2002) ...................................................................................... 45
United States ex rel. Anti-Discrimination Ctr. of Metro New York, Inc. v. Westchester Cty., N.Y.,
  668 F. Supp. 2d 548 (S.D.N.Y. 2009) ...................................................................................... 31
United States ex rel. Aryai v. Skanska,
  2019 U.S. Dist. LEXIS 45083 (S.D.N.Y. Mar. 19, 2019) ........................................................ 26
United States ex rel. Badr v. Triple Canopy, Inc.,
  857 F.3d 174 (4th Cir. 2017) .................................................................................................... 30
United States ex rel. Chorches for Bankr. Estate of Fabula v. Am. Med. Response, Inc.,
  865 F.3d 71 (2d Cir. 2017) ................................................................................................ passim
United States ex rel. Derrick v. Roche Diagnostics Corp.,
  318 F. Supp. 3d 1106 (N.D. Ill. 2018) ...................................................................................... 25
United States ex rel. Forcier v. Comput. Scis. Corp.,
  183 F. Supp. 3d 510 (S.D.N.Y. 2016) ................................................................................ 19, 22
United States ex rel. Gelman v. Donovan,
  No. 12 CV 5142 (RJD), 2017 WL 4280543 (E.D.N.Y. Sept. 25, 2017) .................................. 22
United States ex rel. Grubbs v. Kanneganti,
  565 F.3d 180 (5th Cir. 2009) .................................................................................................... 21
United States ex rel. Heath v. AT & T, Inc.,
  791 F.3d 112 (D.C. Cir. 2015) .................................................................................................. 19
United States ex rel. Hendow v. Univ. of Phoenix,
  461 F.3d 1166 (9th Cir. 2006) .................................................................................................. 31
United States ex rel. Kester v. Novartis Pharm. Corp.,
  23 F. Supp. 3d 242, 2014 WL 2324465 (S.D.N.Y. May 29, 2014) .............................. 20, 28, 31
United States ex rel. Lusby v. Rolls-Royce Corp.,
  570 F.3d 849 (7th Cir. 2009) .............................................................................................. 19, 22
United States ex rel. Takemoto v. The Hartford Fin. Servs. Grp., Inc.,
  157 F. Supp. 3d 273 (W.D.N.Y. 2016) ..................................................................................... 26
United States Printing & Lithograph Co. v. Powers,
  233 N.Y. 143 (1922) ................................................................................................................. 36
United States v. Chang,
  No. CV133772DMGMRWX, 2017 WL 10544289 (C.D. Cal. July 25, 2017) ........................ 25
United States v. Dynamic Visions, Inc.,
  220 F. Supp. 3d 16 (D.D.C. 2016) ............................................................................................ 63
United States v. Luce,
  873 F.3d 999 (7th Cir. 2017) .................................................................................................... 30
United States v. Mount Sinai Hosp.,
  256 F. Supp. 3d 443 (S.D.N.Y. 2017) ...................................................................................... 30



                                                                  -x-
        Case 1-19-01133-cec                    Doc 17         Filed 12/11/19             Entered 12/11/19 16:44:59




United States v. N. Adult Daily Health Care Ctr.,
  205 F. Supp. 3d 276 (E.D.N.Y. 2016) ...................................................................................... 26
United States v. United Healthcare Ins. Co.,
  848 F.3d 1161 (9th Cir. 2016) .................................................................................................. 21
Universal Health Servs., Inc. v. United States,
  136 S. Ct. 1989 (2016) .............................................................................................................. 28
Waltree Ltd. v. Ing Furman Selz LLC,
 97 F. Supp. 2d 464 (S.D.N.Y. 2000) ........................................................................................ 25
Wausau Bus. Ins. Co. v. Turner Const. Co.,
 141 F. Supp. 2d 412 (S.D.N.Y. 2001) ...................................................................................... 59
Wexner v. First Manhattan Co.,
 902 F.2d 169 (2d Cir. 1990) ..................................................................................................... 23
Wilde v. Wilde,
  576 F. Supp. 2d 595 (S.D.N.Y. 2008) ...................................................................................... 66
Winthrop-Univ. Hosp. Ass’n v. Sterling Servs. Grp., L.C.,
  No. 08-CV-1404(JS)(ETB), 2009 WL 10709106 (E.D.N.Y. Mar. 31, 2009) .............. 46, 48, 49
Wm. Passalacqua Builders, Inc. v. Resnick,
 933 F.2d 131 (2d Cir. 1991) ............................................................................................... 60, 61
Wolff & Munier, Inc. v. Whiting-Turner Contracting Co.,
 946 F.2d 1003 ........................................................................................................................... 66
Wujin Nanxiashu Secant Factory v. Ti-Well Int’l Corp.,
 22 A.D.3d 308 (N.Y. App. Div. 2005) ..................................................................................... 36
Xpedior Creditor Tr. v. Credit Suisse First Bos.,
  341 F. Supp. 2d 258 (S.D.N.Y. 2004) ...................................................................................... 43
Zimmerli Textil AG v. Kabbaz,
  No. 14-CV-1560 (JS) (AYS), 2015 WL 5821523 (E.D.N.Y. Sept. 30, 2015) ......................... 56


Statutes
31 U.S.C. § 3729 ..................................................................................................................... 21, 35
New York False Claims Act § 188 ........................................................................................ passim
New York False Claims Act § 189(1)(a) ............................................................................... passim
New York False Claims Act § 189(1)(b) ............................................................................... passim
New York False Claims Act § 189(1)(d) ...................................................................... 3, 18, 34, 35
New York False Claims Act § 189(1)(g) ............................................................................... passim
New York False Claims Act § 189(1)(h) ...................................................................... 3, 19, 34, 35




                                                                   -xi-
        Case 1-19-01133-cec                     Doc 17          Filed 12/11/19             Entered 12/11/19 16:44:59




Rules
Fed. R. Civ. P. 12(b)(6)............................................................................................... 18, 25, 47, 58
Fed. R. Civ. P. 15 .......................................................................................................................... 69
Fed. R. Civ. P. 8 ..................................................................................................................... passim
Fed. R. Civ. P. 9(b) ................................................................................................................ passim




                                                                    -xii-
       Case 1-19-01133-cec             Doc 17       Filed 12/11/19         Entered 12/11/19 16:44:59




                  Suffolk OTB1 respectfully submits this memorandum in opposition to

Defendants’ Memorandum of Law in Support of Defendants’ Motion to Dismiss the Complaint

[Docket No. 9] (the “Motion” or “Mot.”).2

                                      PRELIMINARY STATEMENT

                  Delaware North has taken advantage of its position of trust as the manager of

Jake’s 58 Casino to enrich itself at the expense of New York and Suffolk County. Delaware

North’s scheme is simple: it uses Jake’s 58 and the hundreds of millions of dollars a month that

pass through its hands to serve its own interests, rather than those of Suffolk OTB. Delaware

North’s malfeasance is detailed with particularity in the Complaint and includes hundreds of

thousands of dollars for a new kitchen for Delaware North charged to Suffolk OTB; hundreds of

thousands of dollars for a new HVAC system for Delaware North charged to Suffolk OTB; $1.5

million in improvements for Delaware North’s valet parking business charged to Suffolk OTB;

rent and utility overcharges to Suffolk OTB; and millions of dollars for unused overnight hotel

stays charged to Suffolk OTB, to name a few examples.

                  Delaware North does not (and cannot) contest the fundamental plausibility of the

causes of action in the Complaint—that Delaware North, after being entrusted with managing a

public entity’s most valuable asset for the benefit of citizens and creditors—breached the DMS

Agreement and abused that position of trust by engaging in a knowing pattern of misallocating

costs to Suffolk OTB and profits to itself. At bottom, Defendants’ Motion demands more

pleading detail than is required, and contends that separate, wholly independent, non-duplicative


1
         Capitalized terms have the same meaning as in the Complaint, unless otherwise indicated.

2
        The Motion does not try to dispose of the entire case or even every cause of action. See, e.g., Mot. at 4 n.2.
Therefore, Defendants should have answered the claims they do not contest rather than delay the progress of the
case. See, e.g., Bull HN Info. Sys. Inc. v. Am. Exp. Bank Ltd., No. 88 Civ. 2103 (SWK), 1990 WL 48098, at *5
(S.D.N.Y. Apr. 6, 1990).
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




allegations must support each cause of action, even though the Rules require no such thing. All

causes of action are well-pled and, drawing all inferences in favor of Suffolk OTB, survive this

partial Motion to Dismiss the Complaint.

               First, this is a lawsuit brought directly by a public benefit corporation (a “local

government” under the New York False Claims Act (“NYFCA”) § 188(6)) alleging numerous,

specific violations of the NYFCA by Delaware North. The “who,” “what,” “where” and “how”

of Delaware North’s scheme and specific false claims have been pled with the requisite

particularly, showing that further judicial process is warranted. Delaware North does not

seriously contend that it has failed to receive adequate notice of its alleged wrongdoing and

NYFCA violations. By claiming that the alleged violations are “clerical errors” or “mistakes”

that have been cured, Delaware North manifests its knowledge of, and ability to, respond to the

alleged wrongdoing. Instead, Delaware North makes an incorrect, technical argument that it has

not submitted a “claim” to Suffolk OTB. Delaware North is wrong, and its argument defies

common sense.

               Delaware North is responsible for paying the “Expenses incurred in the operation

of the Business.” DMS § 6.02.2; Compl. ¶ 37. It also must deposit all the Gross Revenues of the

Business into Suffolk OTB’s bank account. DMS §§ 7.01, 7.02.1, 5.02(a). Periodically, then,

Delaware North submits demands and requests for payments to Suffolk OTB for reimbursement

for Expenses from Suffolk OTB’s bank account. Compl. ¶¶ 38, 63, 68. Such demands and

requests certify that the amount requested for Expenses is in compliance with the DMS

Agreement (i.e., are true). Compl. ¶¶ 39, 63, 105. These demands and requests for payment are

calls on the government fisc by Delaware North and subject it to liability under Sections




                                                 2
         Case 1-19-01133-cec     Doc 17      Filed 12/11/19     Entered 12/11/19 16:44:59




189(1)(a) and (b) of the NYFCA. This process is well-known to Delaware North because it

participates in it every day, and it meets any common understanding of a “claim.”

                Further, Sections 189(1)(d), (g) and (h) of the NYFCA prevent wrongdoers like

Delaware North from escaping liability based on its “no claim” argument. Together, these

sections impose liability for so-called “reverse false claims,” where a government contractor

does not transmit money it owes to a government actor. So, if Delaware North did not make

false claims because, for example, on some occasion unbeknownst to Suffolk OTB it paid

Expenses directly from “house money” collected from Jake’s 58 before putting it in Suffolk

OTB’s bank account, then the reverse false claim provisions impose liability for failing to deliver

and transmit the “true” amounts to Suffolk OTB. Thus, the drafters of the statute and the

allegations of the Complaint anticipated the incorrect “no claim” argument Delaware North

makes by rendering it insufficient to allow it to escape liability under the NYFCA. See Section I,

infra.

                Second, Delaware North concedes that the Complaint states a claim for breach of

the DMS Agreement, see Motion at 3, 4 n.2.3 Delaware North does not address at all the bulk of

Suffolk OTB’s breach allegations, including those related to (i) charging Suffolk OTB for hotel

construction costs including the kitchen, air conditioning and front desk; (ii) failing to implement

the marketing programs in accord with the operating budget; (iii) failing to act for Suffolk OTB’s

exclusive benefit; (iv) failing to manage the VLT Facility in accord with Manager Standards; (v)

failing to supervise Suffolk OTB employees; (vi) refusing to grant Suffolk OTB access to

business records; (vii) failing to reimburse Suffolk OTB for Gaming Commission fines; (viii)


3
        The DMS Agreement and the exhibits thereto are filed in the lead bankruptcy case, see In re
Suffolk Regional Off-Track Betting Corporation, Case No. 12-43503 (CEC) [Docket Nos. 487-488]; see
also Adv. Pro. No. 19-01133 (CEC) [Docket No. 10].



                                                 3
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




charging Suffolk OTB rent for square footage it was not occupying; and (ix) overcharging

Suffolk OTB for utilities. Instead, Delaware North nitpicks at certain other allegations of breach,

which are insufficient to permit dismissal of any or all of the breach cause of action:

          Delaware North admits that under the DMS Agreement “[e]xpenses incurred by
           Jake’s 58 in connection with the DNC Retained Business are the responsibility of
           Delaware North Manager.” See Motion at 9. The hotel and valet parking are DNC
           Retained Business. DMS § 1.01 (“DNC Retained Business means . . . the provision
           of lodging and all services related to lodging [and] the provision of valet parking
           services.”). Yet, Delaware North charged Suffolk OTB for elevator upgrades for the
           hotel, and construction costs for valet parking. Compl. ¶ 38(c), (f). These charges for
           DNC Retained Businesses are plainly breaches of the DMS Agreement. Delaware
           North’s request to have the Court decide otherwise on this Motion must be denied.
           See Section II.B.1, infra.

          Evidencing Delaware North’s incorrect belief that Jake’s 58 operates for its benefit,
           Delaware North falsely claimed ownership of the Jake’s 58 logo in various
           trademarks it registered at the United States Patent &Trademark Office (“PTO”).
           While Delaware North withdrew its false applications upon the filing of this suit,
           Delaware North claims that it did not breach the DMS Agreement because “Marks”
           owned by Suffolk OTB are only those “jointly determined” by Suffolk OTB and
           Delaware North. However, the word “jointly” does not appear in the only section of
           the DMS Agreement that references the Marks. As explained more fully in Section
           II.B.2, infra, Delaware North’s contract argument is counter-textual, illogical and
           wholly without merit. It certainly does not warrant dismissal of anything on this
           Motion.

          Delaware North asserts that the Complaint’s allegations of its failure to get Suffolk
           OTB’s consent, agreement and input required by the DMS Agreement are conclusory.
           Notice pleading is all that is required and therefore the Motion should be denied. The
           Complaint alleges in detail that, inter alia, Delaware North did not obtain prior
           approval before instituting certain marketing programs, see Compl. ¶ 79, Delaware
           North delivered the 2019 operating budget past the contractual deadline in order to
           deprive Suffolk OTB from granting its informed consent in violation of Sections
           5.05.1 and 5.05.3 of the DMS Agreement, see Compl. ¶¶ 95–96, and how Delaware
           North keeps Suffolk OTB in the dark about costs for months, in violation of Sections
           7.05 and 8.04 of the DMS Agreement. See Compl. ¶¶ 93–94. This is sufficient non-
           conclusory detail. Delaware North’s argument shows it has notice of the claims and
           therefore the Motion should be denied. See Section II.B.3, infra.

          DNC Gaming’s contention that it is not liable for breach of the DMS Agreement even
           though it signed the DMS Agreement is wrong. Joint and several liability arises
           when two or more persons co-sign a contract. DNC Gaming’s reliance on a phrase in
           a non-operative “whereas” clause of the DMS Agreement explaining DNC Gaming’s



                                                 4
         Case 1-19-01133-cec           Doc 17      Filed 12/11/19        Entered 12/11/19 16:44:59




              “purpose” is insufficient at this stage to overcome the joint and several rule as a
              matter of law. See Section II.A, infra.

                  Third, Delaware North’s argument in big bold letters that “Delaware North

Manager Owes No Fiduciary Duty to Suffolk OTB” demonstrates exactly why this case ended

up in court. It shows that Delaware North has paid no mind to the people’s interests and

confirms that it acted in a hopelessly conflicted manner for its own interest. The license to

operate a VLT Facility was granted to Suffolk OTB for the benefit of New York and the citizens

of Suffolk County, not for Delaware North.

                  It is black letter law that a fiduciary is “one who transacts business, or who

handles money or property, which is not his [or her] own or for his [or her] own benefit, but for

the benefit of another person, as to whom he [or she] stands in a relation implying and

necessitating great confidence and trust on the one part and a high degree of good faith on the

other part.”4 Delaware North manages Suffolk OTB’s Jake’s 58 and handles hundreds of

millions of dollars each month. Given the history of the relationship and each party’s role

therein as pled in the Complaint, see ¶¶ 20–24, 26, 30, 35, it is hard to imagine a relationship that

requires more confidence and trust in Delaware North than this one.

                  In fact, by impugning Suffolk OTB’s business acumen and experience in gaming,

Delaware North has effectively conceded its special position of trust and that Suffolk OTB is

reliant on Delaware North’s expertise. See Motion at 1 (“Suffolk OTB lacked the

qualifications . . . to operate a VLT casino and needed an experienced partner to develop, finance

and manage the new business venture”). A hallmark of a fiduciary relationship is the principal

(Suffolk OTB) trusting the agent (Delaware North) to manage a valued asset (Jake’s 58) with


4
          Bd. of Mgrs of Fairways at N. Hills Condo. v Fairway at N. Hills, 193 A.D.2d 322, 325 (N.Y. App. Div.
1993).



                                                         5
      Case 1-19-01133-cec          Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




specialized expertise. That is the circumstance here and demonstrates the existence of a

fiduciary duty which Delaware North has indisputably breached, because it denies it exists. It is

Delaware North’s betrayal of that duty, not the breach of the DMS Agreement, that is the essence

of the breach of fiduciary claim and gives rise to liability in tort.

                Fourth, Delaware North incorrectly asserts that Suffolk OTB’s request for a

declaratory judgment that it may terminate the DMS Agreement is not justiciable because

Suffolk OTB has not adequately alleged compliance with DMS Agreement Section 12.03’s

“notice and cure” provisions. On October 7, 2019, the same day the Complaint was filed,

Suffolk OTB provided Delaware North with notice of events of default. Compl. ¶ 149. That

notice triggers the start of “cure” periods. See DMS §12.03(a)–(d). Under the contract,

expiration of cure periods is not a condition precedent to seeking judicial relief. In any event,

those cure periods have since expired and Delaware North has not cured and, under New York

law, Delaware North’s breaches cannot be “cured” due to the nature of the pervasive and

persistent malfeasance alleged. The Court can certainly grant Suffolk OTB’s request for a

declaratory judgment that termination of the DMS Agreement is appropriate as discussed in

Section VI., infra.

                Finally, the bulk of Delaware North’s brief argues that Suffolk OTB’s non-

contract causes of action (breach of fiduciary duty, unjust enrichment, piercing the corporate veil

and accounting) are duplicative of its breach of contract cause. As shown below, Suffolk OTB’s

non-contract claims are well-pled, not entirely duplicative, and entitle Suffolk OTB to extra-

contractual recoveries. But even if they are duplicative in whole or part, that is no ground for

dismissal of anything at this stage of the case.




                                                   6
      Case 1-19-01133-cec          Doc 17        Filed 12/11/19    Entered 12/11/19 16:44:59




                The Rules of Civil Procedure permit a party to plead causes of action in the

alternative (even inconsistent ones). Alternative pleading is appropriate, where the rights and

obligations of the parties under a contract are in dispute. Indeed, Delaware North’s position

seems to be that Suffolk OTB has practically no contractual rights against the Defendants. If that

is the case, Suffolk OTB can recover for Delaware North’s wrongdoing based on causes of

action based in tort or equity. While duplicate recovery may not be permitted, there is no bar to

pleading alternative causes of action. See Sections II., III. and IV., infra.

                                             *       *      *

                The disdain for Suffolk OTB and the people of New York whom Delaware North

is supposed to serve drips from every page of its brief. The brief also displays Delaware North’s

attitude that any question posed is “harassment,” any suggestion is “interference,” and when

Delaware North’s malfeasance is identified, it is always just a “clerical error.” Confident that

this Court will not abide Delaware North’s condescension and stonewalling, Suffolk OTB filed

the Complaint to carry out its duty to maximize the value of Jake’s 58 for the people it serves.

Suffolk OTB is proud of Jake’s 58 successes and the significant funds it has provided for the

State, County and creditors. But that does not mean that Suffolk OTB can sit back and allow

Delaware North’s overreach. The Motion should be denied.

                                           BACKGROUND

I.      Suffolk OTB Relies on Delaware North’s Expertise and Specialized Knowledge to
        Manage the VLT Facility at Jake’s 58

                Since 1975, Suffolk OTB has contributed hundreds of millions of dollars to New

York State and local governments.5 Compl. ¶ 17. Pursuant to the statutes governing Suffolk



5
       Suffolk OTB has operated a printing press as part of its pari-mutuel business since at least 1980,
pursuant to which it handled printing for itself and Nassau Regional Off-Track Betting Corporation.


                                                     7
      Case 1-19-01133-cec          Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




OTB’s operations, the bulk of Suffolk OTB’s revenue is distributed to the State of New York

(including for public education), Suffolk County, various other local government entities, and the

State’s horse racing industry. Compl. ¶ 17. However, due to the statutory obligations requiring

distribution of much of its revenue, Suffolk OTB experienced financial hardship starting in 2006

and filed a petition for relief in this Court in 2012. Compl. ¶ 18.

                In 2013, the State of New York authorized Suffolk OTB to open a video lottery

 terminal facility. Compl. ¶ 19. Suffolk OTB believed the VLT Facility would allow it to satisfy

 its debts and further generate revenue for New York public education and the people of Suffolk

 County. Compl. ¶ 19. On August 18, 2013, Suffolk OTB issued a Request for Proposals

 (“RFP”) for an agent that it could trust to locate, develop, and operate the VLT Facility that was

 to be its path to solvency and repaying its creditors, as well as the cornerstone to fulfilling its

 mandate to generate revenue for the benefit of State and County residents. Compl. ¶ 19.

                DNC and DNC Gaming submitted a response to Suffolk OTB’s RFP on

 September 20, 2013. They touted their reputation and expertise as a leading regional gaming

 operator. Compl. ¶ 20. DNC and DNC Gaming also touted expertise working within public-

 private partnerships to drive maximum funding to public education in New York. Compl. ¶ 20.

 Suffolk OTB accepted DNC and DNC Gaming’s proposal. Compl. ¶ 22. Suffolk OTB and

 Delaware North then entered into a principal-agent relationship, whereby Suffolk OTB placed

 Delaware North in a position of trust and confidence to develop and operate the VLT Facility.

 Compl. ¶ 22. As promised in its RFP, DNC and DNC Gaming then created their alter ego,

 Delaware North Manager, as the vehicle through which DNC and Delaware North Gaming



Delaware North’s false allegations about this part of Suffolk OTB’s business are nothing more than ad
hominem attacks.



                                                   8
     Case 1-19-01133-cec         Doc 17    Filed 12/11/19     Entered 12/11/19 16:44:59




would “provide the benefit” of their “expertise and experience” in the gaming industry to

Suffolk OTB. Compl. ¶¶ 21, 141.

       A.      The Medford VLT Facility Hits Roadblocks and Delaware North Hatches Its
               Scheme

               On March 7, 2014, DNC Gaming, Delaware North Manager, and Suffolk OTB

entered into a Development and Management Services Agreement in order to purchase, develop

and open a VLT gaming facility in Medford, New York. Compl. ¶ 23. However, the plan to

develop the VLT Facility in Medford was hampered when Suffolk OTB experienced delays in

securing a building permit. Compl. ¶ 25. This led Delaware North to seize the opportunity to

own the property on which the VLT gaming facility would operate, and build its own separate

hospitality businesses on the site to profit from the VLT facility. Compl. ¶ 25. DNC Gaming

and Delaware North Manager created Delaware North Properties as an alter ego to purchase a

location for the VLT Facility in Islandia, New York. Compl. ¶ 26. Suffolk OTB was then

effectively forced to become Delaware North’s tenant under unfavorable terms. Compl. ¶ 26.

               Armed with the knowledge that Suffolk OTB wanted the opening of the VLT

Facility to happen as quickly and efficiently as possible and had no other clear options to move

forward, Delaware North pushed for contract terms unfavorable to Suffolk OTB and

advantageous to Delaware North. Compl. ¶ 26. On May 24, 2016, with making payroll hanging

over its head, Suffolk OTB entered into the Amended and Restated Development and

Management Services Agreement with Delaware North Gaming and Delaware North Manager.

Compl. ¶ 27.

               Under the DMS Agreement, the main floor, mezzanine and basement of the

Marriott hotel in Islandia, New York were retrofitted as a VLT gaming facility now known as

Jake’s 58, to be managed by Delaware North. Compl. ¶ 26. While the VLT business at Jake’s



                                                9
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




58 belongs to Suffolk OTB, Delaware North is the sole owner of the “DNC Retained

Businesses” at Jake’s 58, including, inter alia, the hotel, food and beverage, valet parking and

retail businesses. Compl. ¶ 27; see also DMS § 1.01. The DMS Agreement provides that

Delaware North is responsible for all costs relating solely to the DNC Retained Businesses at

Jake’s 58, while Suffolk OTB is ultimately responsible for all costs relating to the VLT Facility

and common areas that serve it. Compl. ¶ 37; DMS §§ 4.02, 4.04. Despite this arrangement,

Delaware North proceeded to abuse its position of trust by charging Suffolk OTB for millions of

dollars in costs related to the DNC Retained Businesses. Compl. ¶ 37. Delaware North’s goal

was to take advantage of the VLT Facility to squeeze Suffolk OTB for every penny, at every

turn. Compl. ¶ 26.

       B.      The DMS Agreement Confirms Delaware North’s Obligations to Suffolk
               OTB

               The DMS Agreement memorialized the fiduciary relationship contemplated by

the parties when Suffolk OTB selected Delaware North as its agent. Compl. ¶¶ 22, 30–32. For

instance, the DMS Agreement provides that “[i]n the performance of its duties as the manager of

the Business, the Manager will act solely as the agent of Suffolk OTB” and that “[t]he

performance of all activities by the Manager pursuant to this Agreement will be on behalf of

Suffolk OTB and for its exclusive account and benefit[.]” DMS §§ 5.01, 16.01; Compl. ¶ 30.

               In addition, the DMS Agreement provides that the Manager will agree to

cooperate with Suffolk OTB in exercising its authority as Suffolk OTB’s agent and act

“consistent with the current Operating Budget, and also consistent with practices in gaming

facilities reasonably comparable to the Gaming Facility.” DMS § 5.01; Compl. ¶ 31.

               Further, the DMS Agreement sets out standards for Delaware North Manager by

requiring it to act consistent with its “Manager Standards,” defined in the DMS Agreement as



                                                10
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




“standards of diligence and professional management consistent with that which is customary

and usual with respect to the video lottery gaming industry . . . and such other standards as are

required under applicable law.” DMS §§ 1.01, 5.01; Compl. ¶ 32.

       C.      Suffolk OTB and Delaware North Begin Construction of the Islandia VLT
               Facility

               On August 12, 2016, the Islandia Village Board approved Delaware North

Properties’ special permit to allow Delaware North Properties to operate the VLT Facility on the

Islandia Property. Compl. ¶ 33. Construction on the VLT Facility began in September 2016.

Compl. ¶ 33. On December 20, 2016, as construction of the VLT Facility progressed, Suffolk

OTB and Delaware North Properties executed a Lease Agreement (the “Lease Agreement”) by

which Suffolk OTB leased the portion of Islandia Property to be used for the VLT Facility under

the terms of the DMS Agreement. Compl. ¶ 34.

               Despite the position of trust and confidence in which Suffolk OTB placed

Delaware North to manage its most valued asset for Suffolk OTB’s benefit, from the time

construction on the VLT Facility began, through its initial opening in February 2017 with 250

VLTs, to its grand opening on June 1, 2017 with 1,000 VLTs, through to the present day,

Delaware North has operated under a bad faith business plan whereby Suffolk OTB shoulders as

many costs as possible while Delaware North reaps as much profit as possible, at the expense of

Suffolk OTB, the State and County. Compl. ¶ 35.

II.    Delaware North’s Knowing Pattern of Enriching Itself at Suffolk OTB’s Expense

       A.      Delaware North Overcharges Suffolk OTB Millions in Construction Costs

               Under the DMS Agreement, Delaware North is responsible for costs related to the

 hotel and food and beverage business while Suffolk OTB is responsible for costs related to the

 VLT Facility and a portion of the common areas serving it. Compl. ¶ 37; DMS Agreement



                                                11
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




§§ 4.02; 4.04. Despite this, Delaware North abused its position of trust and knowingly

submitted millions of dollars’ worth of false claims to Suffolk OTB for construction costs

related solely to Delaware North’s Retained Businesses. Compl. ¶ 37. These false charges

included, inter alia, (i) a series of claims for hundreds of thousands of dollars for construction

of a brand new kitchen for the purposes of serving Delaware North’s hotel and restaurant

business; (ii) a series of claims for hundreds of thousands of dollars to upgrade Delaware

North’s hotel HVAC system; (iii) a series of claims for elevator upgrades and repairs for

Delaware North’s hotel; (iv) a series of claims for air conditioning and security cameras on the

tenth floor of Delaware North’s hotel; and (v) a series of claims for construction and other costs

associated with Delaware North’s valet parking business. Compl. ¶ 38.

               In support of these false claims, Delaware North made false records and/or

statements that were material to Suffolk OTB’s approval and payment of the overcharges.

Compl. ¶ 39. These false records and statements included descriptions of charges due for

construction costs, change orders, vendor invoices and reconciliations of the construction

expenses submitted to Suffolk OTB. Compl. ¶ 39. They each contained implied certifications

that the various goods and services were charged to Suffolk OTB in compliance with the DMS

Agreement, with Delaware North knowingly failing to disclose its material noncompliance.

Compl. ¶ 39.

               For months, Suffolk OTB requested to see construction records revealing the

basis of each claim by Delaware North for payment. Compl. ¶ 40. Despite the fact that Suffolk

OTB is entitled to such records under the DMS Agreement, Delaware North refused to provide

them. Compl. ¶ 40. Because of this, Suffolk OTB engaged its own auditors and a consultant to

review the millions of dollars in construction costs. Compl. ¶ 41. They uncovered at least 92




                                                12
     Case 1-19-01133-cec        Doc 17     Filed 12/11/19    Entered 12/11/19 16:44:59




false change orders, representing millions of dollars in overcharges Delaware North submitted to

Suffolk OTB. Compl. ¶ 42. Every single one of the 92 change orders favored Delaware North,

underscoring the knowing and/or reckless nature of its conduct. Compl. ¶¶ 41, 43.

              As outlined in the Complaint, Delaware North’s pattern and practice of submitting

these false charges to Suffolk OTB violates the New York False Claims Act; is a breach of the

DMS Agreement, the covenant of good faith and fair dealing and Delaware North’s fiduciary

duties as Suffolk OTB’s agent; and unjustly enriches Delaware North at the expense of Suffolk

OTB and the local taxpayers. Compl. ¶ 44.

       B.     Delaware North Falsely Claims Ownership of Suffolk OTB’s Trademarks
              and Service Marks

              Section 10.02 of the DMS Agreement provides that “[o]wnership in the Marks

[defined as “trade names, trademarks and service marks”] will, for all purposes, belong

exclusively to Suffolk OTB.” Unbeknownst to Suffolk OTB, Delaware North applied to

register, and falsely claimed ownership of, at least nine trademarks and/or service marks related

to “Jake’s 58” with the PTO. Compl. ¶ 46. Delaware North, despite being bound to act

faithfully as Suffolk OTB’s agent and manager, never informed Suffolk OTB that it had applied

to register any of the trademarks or service marks, or that it had falsely declared Delaware North

Properties the owner of such Marks to the PTO. Compl. ¶ 49. Delaware North’s actions with

Suffolk OTB’s Marks constitute breaches of the DMS Agreement. Compl. ¶ 53.

       C.     Delaware North Overcharges Suffolk OTB for Rent and Utilities

              Under the Lease Agreement entered into by Suffolk OTB and Delaware North,

Suffolk OTB leases only the portion of the Islandia Property required to operate its VLT

Facility. Compl. ¶ 55. Despite this, Delaware North knowingly inflated the square footage of

the VLT Facility and submitted false claims for rent to Suffolk OTB based on its



                                               13
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




miscalculations from March, 2017 to the present. Compl. ¶¶ 59, 63. In fact, Delaware North’s

senior management acknowledged that the square footage from which it calculates Suffolk

OTB’s rent is false, but it has refused to reimburse Suffolk OTB. Compl. ¶ 60.

               In addition to the false rent charges, Delaware North has made false claims to

Suffolk OTB for utilities. Compl. ¶ 65. In October, 2017 Delaware North apportioned Suffolk

OTB’s share of the sewer charges at 13.76%. Compl. ¶ 67. But beginning in March, 2018,

Delaware knowingly and/or recklessly ratcheted Suffolk OTB’s share of the sewage charges up

to 50% and began submitting false claims to Suffolk OTB for nearly four times Suffolk OTB’s

actual share, for a year. Compl. ¶¶ 68–69. In support of the false rent and utility charges,

Delaware North submitted false records and/or statements in the form of monthly invoices and

reconciliations. Compl. ¶ 69. These false records contained implied certifications that the rent

and utility charges submitted to Suffolk OTB were in compliance with the DMS Agreement,

with Delaware North knowingly failing to disclose its material noncompliance. Compl. ¶ 70.

               As noted in the Complaint, Delaware North’s pattern and practice of submitting

these false charges to Suffolk OTB violates the New York False Claims Act; is a breach of the

DMS Agreement, the covenant of good faith and fair dealing and Delaware North’s fiduciary

duties as Suffolk OTB’s agent; and unjustly enriches Delaware North at the expense of Suffolk

OTB and the local taxpayers. Compl. ¶ 72.

       D.      Delaware North Takes Advantage of Suffolk OTB’s Marketing Allowance to
               Enrich Itself

               Prior to April 2019, Suffolk OTB received a Gaming Commission-approved

marketing allowance from the State of New York, intended to incentivize customers to remain at

the VLT Facility and play for an extended period of time. Compl. ¶ 75. Pursuant to the DMS

Agreement, Delaware North has control over the administration of this marketing allowance on



                                                14
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




behalf of Suffolk OTB. Compl. ¶ 75. Unsurprisingly, over Suffolk OTB’s objection, Delaware

North administers the allowance solely for its own benefit, generating millions of dollars for its

hotel business at the expense of Suffolk OTB and the State of New York. Compl. ¶ 73.

               Eighty percent of Jake’s 58 customers live within 20 miles of the VLT Facility

and are not interested in spending the night at Delaware North’s hotel. Compl. ¶ 74. Despite

this, Delaware North has directed an outsized portion of the marketing allowance to providing

customers with complimentary hotel rooms, for which Delaware North then “reimburses” itself

with marketing allowance funds generated each day by Suffolk OTB’s VLTs. Compl. ¶ 75.

Delaware North’s practice of paying itself for empty hotel rooms has diminished funds that

would otherwise be returned to the State of New York or Suffolk OTB. Compl. ¶ 76. In 2018,

Delaware North received $7.3 million for these “complimentary” hotel rooms, exceeding the

original budget by $4.8 million. Compl. ¶ 76. Delaware North paid itself over $6 million in the

first eight months of 2019, already exceeding the 2019 budget by $1.78 million. Compl. ¶ 76.

Because Delaware North knows that most customers do not want complimentary hotel rooms,

Delaware North offers customers free-play vouchers upon check-in and check-out, in order to

entice them to accept hotel rooms so that Delaware North can pay itself from the marketing

allowance. Compl. ¶ 74. This results in the spending of $250 ($100 for vouchers and $150 for

the hotel room) for the same marketing benefit the vouchers alone could have accomplished.

Compl. ¶ 78.

               Suffolk OTB has attempted to further analyze the efficacy of this marketing

program by demanding records and data with no help from Delaware North, who has refused to

provide any useable data related to the program. Compl. ¶ 80. As noted in the Complaint,

Delaware North’s pattern and practice of knowingly and/or recklessly using Suffolk OTB’s




                                                15
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




marketing funds to pay itself for empty hotel rooms violates the New York False Claims Act; is a

breach of the DMS Agreement, the covenant of good faith and fair dealing and Delaware North’s

fiduciary duties as Suffolk OTB’s agent; and unjustly enriched Delaware North at the expense of

Suffolk OTB and the State of New York. Compl. ¶ 82.

       E.      Delaware North Incurs Gaming Commission Fines and Refuses to Pay Them

               Under Section 5.01 of the DMS Agreement, Delaware North Manager is required

at all times to act in a manner consistent with “Manager Standards,” defined as “standards of

diligence and professional management consistent with that which is customary and usual with

respect to the video lottery gaming industry . . . and such other standards as are required under

applicable law.” Compl. ¶ 83. In addition, the DMS Agreement provides that a “specific

responsibili[ty]” of the Manager is to supervise and oversee the employees of Suffolk OTB in

connection with security services. Compl. ¶ 84; DMS §§ 5.02(a), (b). Pursuant to these

provisions, Delaware North Manager is bound to assist Suffolk OTB in preventing violations of,

and complying with, any applicable legal requirements, including the Gaming Commission

Rules and Regulations. DMS §5.02(i); Compl. ¶ 84.

               Despite these obligations under the DMS Agreement and applicable law,

Delaware North Manager’s senior management team has incurred at least three underage gaming

violations within a one year period and refused to indemnify Suffolk OTB for these violations as

required by the Section 5.03 of the DMS Agreement. Compl. ¶ 86. These violations have put

both Suffolk OTB and Delaware North at risk for penalties from the Gaming Commission, which

could include the revocation or suspension of gaming licenses. Compl. ¶ 88. As outlined in the

Complaint, Delaware North’s pattern and practice of knowingly and/or recklessly incurring

Gaming Commission fines on Suffolk OTB’s behalf and refusing to indemnify Suffolk OTB

violates the New York False Claims Act; is a breach of the DMS Agreement, the covenant of


                                                16
       Case 1-19-01133-cec      Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




good faith and fair dealing and Delaware North’s duties as Suffolk OTB’s agent; and unjustly

enriched Delaware North at the expense of Suffolk OTB and local taxpayers. Compl. ¶ 91.

III.    Delaware North Conceals Its Self-Dealing from Suffolk OTB in Bad Faith

               Delaware North’s pattern and practice of fraud and misallocation also include

numerous efforts to keep Suffolk OTB in the dark, by blocking its access to records of the

business that would reveal Delaware North’s unlawful spending and refusing to be transparent

about the daily operations of the business. Compl. ¶ 94.

IV.     Delaware North Defaults on its Obligations under the DMS Agreement and Suffolk
        OTB Files This Lawsuit

               Pursuant to Section 12.03 of the DMS Agreement, Suffolk OTB may terminate its

 obligation to retain and pay for the services of the Manager upon the occurrence of an “Event of

 Default.” Compl. ¶ 148. The Manager’s conduct as outlined above constitutes events of default

 under Sections 12.03(a) and (c) of the DMS Agreement, in that they constitute a material failure

 to perform and observe the DMS Agreement, and because supervisory employees of the

 Manager have committed fraud, malfeasance, gross negligence or material misrepresentations in

 connection with the operation of the VLT Facility. Compl. ¶¶ 150–153. On October 7, 2019,

 Suffolk OTB provided the Manager with notice of events of default in accord with the DMS

 Agreement. Compl. ¶ 149.

               Also on October 7, Suffolk OTB commenced this lawsuit, in order to seek judicial

 intervention and protect its rights. Suffolk OTB’s Complaint asserts violations of the New York

 False Claims Act, breaches of the DMS Agreement, breaches of Fiduciary Duty and aiding and

 abetting breaches of fiduciary duty, and unjust enrichment. Through its lawsuit, Suffolk OTB

 also seeks to pierce the corporate veil of the four Delaware North Defendants, obtain

 declaratory relief in the form of a judgment that events of default have occurred under the DMS



                                               17
      Case 1-19-01133-cec          Doc 17      Filed 12/11/19      Entered 12/11/19 16:44:59




 Agreement and Suffolk OTB may terminate its retention of the Manager, and receive an

 equitable accounting from Delaware North of all funds collected and expended by Delaware

 North Manager on its behalf with respect to the VLT Facility.

                On November 7, Delaware North filed the Motion addressed to some, but not all,

 of the claims and causes of action in the Complaint.

                                            ARGUMENT

                To survive a motion to dismiss under Rule 12(b)(6), a complaint “must contain

 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

 570 (2007)). The Court must accept the factual allegations of the complaint as true, and draw

 all inferences in favor of the plaintiff. Chambers v. Time Warner, Inc., 282 F.3d 147, 152 (2d

 Cir. 2002). In evaluating the complaint, the court may consider “any written instrument

 attached to it as an exhibit or any statements or documents incorporated in it by reference.”

 Rothman v. Gregor, 220 F.3d 81, 88 (2d Cir. 2000).

I.      SUFFOLK OTB HAS STATED A CLAIM FOR VIOLATIONS OF THE NEW
        YORK FALSE CLAIMS ACT, N.Y. FIN. LAW § 187, et seq. (FIRST CAUSE OF
        ACTION)

                The Complaint includes one cause of action for violating the New York False

 Claims Act. It explains how Delaware North violated Section 189(1)(a) by knowingly

 presenting, or causing to be presented false or fraudulent claims for payment and approval; and

 Section 189(1)(b) by knowingly making, using and causing to be made or used, false statements

 material to the false and fraudulent claims. The Complaint also explains how, if Delaware

 North is right as a factual matter that it does not make “claims” but instead pays Suffolk OTB

 what Delaware North deems it is owed, then it has violated Section 189(1)(d) by knowingly

 failing to deliver that which is owed; Section 189(1)(g) by knowingly making, using and


                                                   18
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




causing to be made or used, false records and statements material to their obligation to pay or

transmit money to OTB; and Section 189(1)(h) by improperly avoiding its obligation to transmit

money to OTB.

      A.      Suffolk OTB Has Pled Its NYFCA Claim with the Requisite Particularity

              Those portions of the allegations “constituting fraud” in a NYFCA claim are

generally evaluated under the heightened Rule 9(b) pleading standard. But “Rule 9(b) does not

call for plaintiffs to plead every conceivable fact about the claims they allege were fraudulent,

or to prove its claims at the pleading stage.” United States ex rel. Forcier v. Comput. Scis.

Corp., 183 F. Supp. 3d 510, 521 (S.D.N.Y. 2016). Rather, “the point of Rule 9(b) is to ensure

that there is sufficient substance to the allegations to both afford the defendant the opportunity

to prepare a response and to warrant further judicial process.” See United States ex rel.

Chorches for Bankr. Estate of Fabula v. Am. Med. Response, Inc., 865 F.3d 71, 87 (2d Cir.

2017) (“Chorches”) (quoting United States ex rel. Heath v. AT & T, Inc., 791 F.3d 112, 125

(D.C. Cir. 2015)).

              Pleading with particularity usually requires the “the who, what, when, where, and

how: the first paragraph of any newspaper story.” United States ex rel. Lusby v. Rolls-Royce

Corp., 570 F.3d 849, 853 (7th Cir. 2009), accord Chorches, 865 F.3d 71 at 88 (a pleading must

specify “(1) the fraudulent statements, (2) the speaker, (3) where and when the statements were

made, and (4) why the statements were fraudulent.”). But, “[u]ltimately, whether a complaint

satisfies Rule 9(b) is ‘a fact-specific inquiry’ that depends upon the nature of the case, the

complexity or simplicity of the transaction or occurrence, the relationship of the parties and the

determination of how much circumstantial detail is necessary to give notice to the adverse party

and enable him to prepare a responsive pleading.” Kane ex rel. United States v. Healthfirst,

Inc., 120 F. Supp. 3d 370, 383 (S.D.N.Y. 2015) (quotations omitted). For this reason, Rule 9(b)


                                                19
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




“does not impose a ‘one size fits all’ list of facts that must be included in every FCA

complaint.” United States ex rel. Kester v. Novartis Pharm. Corp., 23 F. Supp. 3d 242, 258,

2014 WL 2324465, at *15 (S.D.N.Y. May 29, 2014).

               Suffolk OTB’s NYFCA cause of action meets the Rule 9(b) pleading standard:

              The “what” is false claims and avoided obligations to Suffolk OTB, including
               construction charges for Delaware North’s businesses, false rent and utility
               charges, diverted marketing funds to pay for empty hotel rooms, and
               unreimbursed Gaming Commission fines, which were supported by statements
               such as change orders, construction plans, accounting statements, cost
               reconciliations, rent and utility invoices and other records and documents that
               were false because they either expressly or impliedly certified compliance with
               the DMS Agreement. Compl. ¶¶ 39, 63, 105.

              The “who” is DNC Gaming, Delaware North Manager and Delaware Properties,
               operating under the direction and control of DNC and DNC Gaming.

              The specific “when,” “where” and “how much” of numerous false claims is also
               detailed in the Complaint. See, e.g, Compl. ¶ 38 (hundreds of thousands of
               dollars for a new kitchen from June-September 2017; hundreds of thousands of
               dollars for a hotel HVAC system from April-May 2017; $1.5 million in claims
               for valet parking services from May 2017-August 2019); Compl. ¶¶ 59–63
               (detailing precise amount of false square footage from which false rent bills were
               calculated from March 2017-present); Compl. ¶ 68 (monthly utility bills falsely
               increased from 13.76% to 50% from March 2018-March 2019); Compl. ¶ 76
               (outlining specifics of Delaware North’s complimentary hotel room scheme,
               resulting in millions of dollars in false payments for empty hotel rooms in 2018
               and 2019); Compl. ¶ 87 (detailing dates and dollar amounts of Gaming
               Commission fines Delaware North has avoided delivering to Suffolk OTB).

              The “how” is that Delaware North Manager, intentionally abusing its position as
               Suffolk OTB’s fiduciary, and at the direction of DNC Gaming (i) knowingly
               uses its access to Suffolk OTB’s bank accounts to submit electronic funds
               transfer requests to pay itself for false overcharges, and (ii) also knowingly
               delivers less than it owes to Suffolk OTB from VLT revenues into Suffolk
               OTB’s bank accounts. Compl. ¶¶ 2, 26, 35.

               This information identifies false claims with particularity and is also more than

enough for the Court to find that the complaint adequately alleges, in detail, a fraudulent

scheme supporting the strong inference that specific false claims were submitted to the

government in satisfaction of Rule 9(b) and for Delaware North to understand the nature of the


                                                20
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




claims against it. See Chorches, 865 F.3d at 84 (Rule 9(b) met where allegations of Medicaid

reimbursement scheme “detail specific and plausible facts from which we may easily infer, for

present purposes, that [defendant] systematically falsified its records to support false claims”);

United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009) (“to plead with

particularity the circumstances constituting fraud for a False Claims Act § 3729(a)(1) claim, a

relator’s complaint, if it cannot allege the details of an actually submitted false claim, may

nevertheless survive by alleging particular details of a scheme to submit false claims paired with

reliable indicia that lead to a strong inference that claims were actually submitted.”); United

States v. United Healthcare Ins. Co., 848 F.3d 1161, 1180 (9th Cir. 2016) (Rule 9(b) standard

“does not require absolute particularity or a recital of the evidence . . . a complaint need not

allege a precise time frame, describe in detail a single specific transaction[,] identify the precise

method used to carry out the fraud . . . [or] identify representative examples of false claims to

support every allegation.”)

              1.      Suffolk OTB Pleads False Claims and False Certifications with
                      Required Specificity

              Delaware North’s assertion that Suffolk OTB makes no effort to plead the nature

of any false claims, including what they were for, when and how they were made or the amount

of money is simply inaccurate. Suffolk OTB has pled more than enough to provide the notice

required to meet Rule 9(b). The Complaint details the nature, time and amount of numerous

claims for construction costs, rent and utility bills, marketing funds and Gaming Commission

fines. Suffolk OTB is not required to allege additional specific bill numbers, or every specific

false statement, where it has already pled individual false claims, plus sufficient facts to

demonstrate a scheme and the strong inference of other false claims. See United States ex rel.

Gelman v. Donovan, No. 12 CV 5142 (RJD), 2017 WL 4280543, at *6 (E.D.N.Y. Sept. 25,



                                                 21
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




2017) (noting that Chorches “essentially absolves [plaintiff] for failing to plead specific bills,

provided that the filing of specific false claims is strongly and plausibly inferable from her

allegations.”); Forcier, 183 F. Supp. at 521 (“it would be impractical, if not impossible, to

require that the Government plead the details of each and every false claim.”); Lusby, 570 F.3d

at 854 (“We don’t think it essential for a relator to produce the invoices (and accompanying

representations) at the outset of the suit.”). Indeed, it would not be appropriate, for example, to

require Suffolk OTB to plead each expense of Delaware North’s hotel business that was

improperly charged to Suffolk OTB, or each Delaware North hotel room that was charged to

Suffolk OTB that should not have been.

              This is especially the case where, by virtue of its relationship with Suffolk OTB

and the nature of its scheme, Suffolk OTB has pled details of specific claims and that others are

peculiarly within Delaware North’s knowledge. See Compl. ¶ 5 (“when [Suffolk OTB] presses

Delaware North for information about its spending, Delaware North stonewalls”) Id. ¶¶ 40–41

(“For months, Suffolk OTB requested time and again to see the construction records that would

reveal the basis of Delaware North’s claims for payment . . . . when Suffolk OTB engaged

independent auditors and a construction consultant . . . Delaware North reluctantly granted

Suffolk OTB access to some records of expenses.”); Id. ¶ 80 (“When Suffolk OTB demanded

records and data related to the efficacy of the “free” hotel room program, Delaware North . . .

refused to provide useable requested data related to the program and its impact”); DMS § 5.01

(granting the Manager the “exclusive right to manage the day-to-day operations of the Business

on behalf of Suffolk OTB”).

              In Chorches, the Second Circuit said that “a complaint can satisfy Rule 9(b)’s

particularity requirement by making plausible allegations creating a strong inference that




                                                22
         Case 1-19-01133-cec          Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




    specific false claims were submitted to the government and that the information that would

    permit further identification of those claims is peculiarly within the opposing party’s

    knowledge.” 865 F.3d at 86. In this circumstance, Chorches held:

                  An interpretation of Rule 9(b) that requires qui tam plaintiffs to
                  plead billing details regarding the submission of specific false
                  claims, even when knowledge of such details is peculiarly within the
                  defendant’s purview, would discourage the filing of meritorious qui
                  tam suits that can expose fraud against the government. Under that
                  approach, by simply insulating its accounting department from
                  personnel with operational knowledge, a corporate fraudster could
                  ensure that few employee relators could successfully plead both the
                  falsity of recorded information and the presentment of a claim
                  containing those falsehoods. As in this case, the line workers who
                  falsify paperwork or witness the fraud could not show that claims
                  were in fact submitted, while the accountants who submit the claims
                  would be unaware of the particulars of any falsification, and perhaps
                  to the entire scheme itself. It is not the purpose of Rule 9(b), as
                  applied to FCA qui tam actions, to render the FCA toothless as to
                  particularly clever fraudulent schemes.

    Id. The pleading here easily surpasses that which was required by Chorches.6 Suffolk OTB has

    spelled out in detail the nature of an already-significant universe of false claims it has been able

    to identify and based on those well-pled allegations demonstrated a strong inference of fraud

    that meets the Rule 9(b) standard.

          B.      Suffolk OTB Has Not Engaged in Impermissible “Group Pleading”

                  Rule 9(b)’s general requirement that plaintiffs avoid “group pleading” when

    asserting fraud-based claims against multiple defendants is designed to “inform each defendant

    of the nature of his alleged participation in the fraud.” DiVittorio v. Equidyne Extractive Indus.,



6
          Though Chorches involved qui tam plaintiffs rather than a complaint by the government itself, the nature
of Delaware North’s relationship with Suffolk OTB puts Suffolk OTB at the same informational deficit as a qui tam
plaintiff. And nothing in the statute or the Rules or case law contemplates a different pleading standard depending
on who the plaintiff is. Indeed, the Second Circuit has long read Rule 9(b) to allow allegations “based on
information and belief when facts are peculiarly within the opposing party’s knowledge.” Wexner v. First
Manhattan Co., 902 F.2d 169, 172 (2d Cir. 1990).



                                                        23
         Case 1-19-01133-cec          Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




    822 F.2d 1242, 1247 (2d Cir. 1987). It is not designed “to render the FCA toothless as to

    particularly clever fraudulent schemes” involving opaque, complex corporate structures which

    have been disregarded by the defendants. Chorches, 865 F.3d at 86. That is especially true

    where, as here, there can be no serious contention that any Defendant is in the dark about the

    nature of the claims made against it or its participation in the scheme Suffolk OTB pleads.

                  The Complaint outlines that DNC and DNC Gaming created alter egos Delaware

    North Manager and Delaware North Properties as the vehicles through which they would

    manage Jake’s 58, and that they directed and participated in Delaware North Manager and

    Delaware North Properties’ pattern and practice of falsely overcharging Suffolk OTB and

    refusing to deliver to it the money it is owed. See Compl. ¶¶ 132, 141; see generally Section V.,

    infra. As outlined below in Argument I.A, the relationship between Delaware North Manager

    and Suffolk OTB, Delaware North’s overlapping personnel among its various shell entities, as

    well as Delaware North’s persistent efforts to hide records of its wrongdoing, place Suffolk

    OTB at an informational disadvantage. Compl. ¶ 92. Thus, through no fault of its own, Suffolk

    OTB is not aware of which of the closely-held and interrelated Delaware North entities are

    technically responsible for the actual submission of every false claim and statement. In fact, the

    Delaware North entities routinely hold themselves out to the public as interchangeable,

    including on the Jake’s 58 website where Delaware North states “[r]eferences to ‘Delaware

    North’ or we, us, and ours are used to generally describe the operations and functions of the

    subsidiaries and affiliates of Delaware North Companies, Incorporated.”7


7
          Specifically, the Jakes58.com website links to https://www.delawarenorth.com/corporate-structure, which
states: “Corporate Structure: ‘Delaware North is a reference to Delaware North Companies, Incorporated and its
affiliates and subsidiaries, including without limitation Delaware North Companies, Inc. – Boston, Delaware North
Companies Gaming & Entertainment, Inc., Delaware North Companies International, Ltd., Delaware North
Companies Landmark Holdings, LLC, Delaware North Companies Parks & Resorts, Inc., Delaware North
Companies Sportservice, Inc., Delaware North Companies Travel Hospitality Services, Inc., Delaware North
Companies (UK) Limited, as well as numerous location-specific operating subsidiaries and affiliates. References to


                                                       24
       Case 1-19-01133-cec             Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




                  Courts have determined that “‘group pleading’ is permissible” in situations where,

 as here, “facts surrounding the corporate relationship between the [defendant] entities, as well as

 the precise roles those entities played in the challenged transactions, is exclusively within those

 entities’ knowledge” and “the Complaint puts the [defendant] entities on sufficient notice

 regarding the charges against them.” Waltree Ltd. v. Ing Furman Selz LLC, 97 F. Supp. 2d 464,

 469 (S.D.N.Y. 2000) (addressing Rule 9(b) requirements in the securities fraud context); United

 States v. Chang, No. CV133772DMGMRWX, 2017 WL 10544289, at *15 (C.D. Cal. July 25,

 2017) (“Although the [complaint] does not specify which claim is directed at which defendant,

 the Court concludes that the claims lodged, the grounds upon which they rest, and the alleged

 wrongdoers are sufficiently clear to give Defendants notice of the claims against them such that

 the group pleading argument fails.”) (citing Gao v. JPMorgan Chase & Co., No. 14 Civ. 4281

 (PAC), 2015 WL 3606308, at *6 (S.D.N.Y. June 9, 2015)); United States ex rel. Derrick v.

 Roche Diagnostics Corp., 318 F. Supp. 3d 1106, 1114 (N.D. Ill. 2018) (for FCA claim, “a

 plaintiff need not individualize the role of multiple defendants when the necessary information

 is uniquely within the defendant’s knowledge. . . . [R]elator would not be expected to know the

 particulars of [defendants’] internal operations.”); Levine v. Prudential Bache Properties, Inc.,

 855 F. Supp. 924, 930–31 (N.D. Ill. 1994) (“Here, the plaintiffs have made particular

 allegations as to how the scheme worked. They have made general allegations that the [ ]

 defendants knowingly participated in the scheme. Rules 8 and 9(b) do not require more, and the




“Delaware North” or we, us, and ours are used to generally describe the operations and functions of the subsidiaries
and affiliates of Delaware North Companies, Incorporated.” https://www.delawarenorth.com/corporate-structure,
last visited 12/11/19. See Crespo v. S.C. Johnson & Son, 394 F. Supp. 3d 260, 266 (E.D.N.Y. 2019) (“Though a
court considering a Rule 12(b)(6) motion ordinarily may not look outside the pleadings, the court may take judicial
notice of certain matters of public record including websites.”).



                                                         25
         Case 1-19-01133-cec           Doc 17       Filed 12/11/19         Entered 12/11/19 16:44:59




    information that would permit a more individualized pleading would appear to lie in the

    exclusive possession of the defendants.”).

                  The authorities Delaware North relies on for its group pleading argument either

    do not involve closely interrelated defendants in the same corporate family,8 or in one case

    reject group pleading “in the absence of allegations that corporate formalities have been

    ignored.”9 Here, all defendants are in the same corporate family and there are well-pled

    allegations that corporate formalities have been ignored sufficiently to pierce the corporate veil.

    See Section V., infra. Suffolk OTB has made allegations giving rise to a strong inference of

    fraud and given each of the Defendants notice of their participation in that fraud. Delaware

    North’s stonewalling and complex corporate structure based on various shell entities should not

    result in dismissal of Suffolk OTB’s claims due to alleged “group pleading.”

          C.      Suffolk OTB Has Adequately Pled Knowledge, Falsity and Materiality

                  1.       Suffolk OTB Pleads “Knowledge” Under the NYFCA

                  NYFCA violations require “knowing” action. United States v. N. Adult Daily

    Health Care Ctr., 205 F. Supp. 3d 276, 287 (E.D.N.Y. 2016) (“The NYFCA . . . imposes

    liability for ‘knowingly mak[ing] a false statement or knowingly fil[ing] a false record,’”)

    (quoting NYFCA §§ 189(1)(a), (b)). “Knowingly” under the NYFCA is defined to include

    actual knowledge, or acting in either “deliberate ignorance of” or “in reckless disregard of” the




8
         See, e.g., U.S. ex rel. Corp. Compliance Assocs. v. N.Y. Soc’y for the Relief of the Ruptured & Crippled,
Maintaining the Hosp. for Special Surgery, 2014 U.S. Dist. LEXIS 109786, at *32 (S.D.N.Y. Aug. 7, 2014)
(defendants were not interrelated affiliates); In re Aluminum Warehousing Antitrust Litig., 2015 U.S. Dist. LEXIS
26412, at *21–22 (S.D.N.Y. Mar. 4, 2015) (no veil piercing allegations); United States ex rel. Aryai v. Skanska,
2019 U.S. Dist. LEXIS 45083, at *23-25 (S.D.N.Y. Mar. 19, 2019) (no veil piercing allegations).
9
         United States ex rel. Takemoto v. The Hartford Fin. Servs. Grp., Inc., 157 F. Supp. 3d 273, 281 (W.D.N.Y.
2016) (rejecting group pleading where there were no veil piercing allegations and plaintiff failed to state any basis
for claim).



                                                         26
     Case 1-19-01133-cec        Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




truth or falsity of the information. NYFCA § 188(3)(a)(i)-(ii). “[N]o proof of specific intent to

defraud” is required. NYFCA § 188(3)(b). Knowledge need only be pled in accordance with

Rule 8 (not Rule 9(b)). See, e.g., Kane, at 382–83 (“Conditions of a person’s mind—such as

malice, intent or knowledge—may be alleged generally.”).

              The Complaint alleges that Delaware North engaged in a “knowing, intentional

and bad faith pattern of enriching itself at Suffolk OTB’s expense” and provides specific

examples. Compl. ¶ 6. With respect to construction charges, it alleges that Delaware North

submitted repeated claims for a hotel kitchen and that such claims were “not an accident.”

Compl. ¶ 38. The Complaint alleges that out of 92 erroneous change orders, “100% of the false

charges favored Delaware North.” Compl. ¶ 43. It alleges that Delaware North overcharged

Suffolk OTB for rent despite “acknowledg[ing] that the square footage from which [it]

calculated base rent . . . was incorrect” (Compl. ¶ 60); that Delaware North, after telling Suffolk

OTB its percentage of sewage costs would be 13.76%, knowingly ratcheted that cost up to 50%

for a year (Compl. ¶¶ 68–69); that Delaware North “knows that giving away hotel rooms does

not drive increased revenue to the VLT Facility,” but continues to exceed the budget for

complimentary rooms by as much as 194% (Compl. ¶¶ 76–77); that Delaware North has refused

to indemnify Suffolk OTB for Gaming Commission fines it recklessly incurred, for which it

knew it was responsible (Compl. ¶ 91); and that at every turn Delaware North has willfully

blocked Suffolk OTB’s access to records of charges against it, including construction records,

information about legal bills and marketing data regarding the free rooms (Compl. ¶¶ 92, 94).

              This pattern of knowing conduct easily satisfies any requirement that knowledge

be pled to satisfy Rule 8. Delaware North appears to contend its acts were simply “mistakes.”

But, Delaware North is raising a factual dispute, and not a pleading deficiency in the Complaint.




                                                27
     Case 1-19-01133-cec        Doc 17      Filed 12/11/19     Entered 12/11/19 16:44:59




See In re Cardiac Devices Qui Tam Litig., 221 F.R.D. 318, 340 (D. Conn. 2004) (determining

government sufficiently pled knowledge under FCA and noting “whether the facts will show

only an innocent mistake or mere negligence on the part of the defendant[] are issues that

cannot be resolved on a motion to dismiss.”).

              2.      Suffolk OTB Pleads “Falsity” under the NYFCA

              A “false claim” is one that is “either in whole, or in part, false or fraudulent.”

NYFCA § 188(2). A “claim” can be “factually” false (such as where an entity bills for

something it did not actually provide), or “legally false.” See Kester, 23 F. Supp. at 260–61.

“[A] ‘legally false’ claim does not misrepresent the goods and services provided. Rather, the

party submitting the claim falsely represents (or ‘certifies’) compliance with a statute,

regulation, or contractual provision.” Id. This certification of compliance can be either

“express” or “implied.” Id. False Claims Act liability based on an “implied certification”

attaches “when the defendant submits a claim for payment that makes specific representations

about the goods or services provided, but knowingly fails to disclose the defendant’s

noncompliance with a . . . contractual requirement. In these circumstances, liability may attach

if the omission renders those representations misleading.” Universal Health Servs., Inc. v.

United States, 136 S. Ct. 1989, 1995 (2016).

              Here, falsity has been pled by reference to the contract documents and the factual

allegations. Every time Delaware North submitted a claim for payment to Suffolk OTB, those

claims contained representations about the goods and services provided (such as payment codes

or descriptions of charges, see Id. at 2000–001; Compl. ¶¶ 37, 39, 42, 105. But Delaware North

knowingly failed to disclose that those claims were not in compliance with the DMS Agreement

or Lease Agreement because they were for expenses related to Delaware North’s Retained

Businesses, or otherwise allocated to Suffolk OTB in violation of the contracts. Delaware


                                                28
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




North’s failure to inform Suffolk OTB that the claims were not in compliance with the DMS

Agreement and Lease Agreement made those claims “legally false.” Similarly, with respect to a

“reverse” false claim under NYFCA Section 189(1)(g), Delaware North used false statements or

records, such as descriptions of charges due for construction costs, rent bills, utility costs and

statements reflecting the payment of other expenses to Delaware North, but knowingly failed to

disclose that Delaware North’s obligations to remit money to Suffolk OTB under the DMS

Agreement went beyond the amounts reflected in the false statements or records.

              3.      Suffolk OTB Pleads “Materiality” Under the NYFCA

              A claim under NYFCA §§ 189(1)(b) and 189(1)(g) require that a false record or

statement be “material” to a false claim or obligation to pay the government. Allegations of

materiality must be plead with particularity under Rule 9(b). See, e.g., Grabcheski v. Am. Int’l

Grp., Inc., 687 F. App’x 84, 87 (2d Cir. 2017). “Material” under the NYFCA means “having a

natural tendency to influence, or be capable of influencing the payment or receipt of money or

property.” NYFCA §188(5).

              Aside from pleading that the false claims were all “material” (see Compl. ¶¶ 105,

107), Suffolk OTB also alleges that, “[d]eeply concerned about the pattern of self-dealing and

bad faith actions . . . Suffolk OTB demanded that Delaware North Manager cede control of the

VLT Facility’s accounts payable function.” Compl. ¶ 98. This clearly demonstrates

materiality. Further, the Complaint alleges that Suffolk OTB engaged auditors to review the

construction costs after Delaware North refused numerous times to grant Suffolk OTB access to

the records, and that Suffolk OTB “confronted” Delaware North about overcharges (Compl.

¶¶ 40–41, 70); that Delaware North also refused to reimburse Suffolk OTB for rent and Gaming

Commission fines after Suffolk OTB raised the issue (Compl. ¶¶ 60, 90); and that Suffolk OTB

“demanded records and data related to the efficacy of the ‘free’ hotel program” which Delaware


                                                29
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




North “has refused to provide” (Compl. ¶ 80). This is more than enough to demonstrate that

Delaware North’s false statements and records had a natural tendency to influence Suffolk

OTB. Upon learning of Delaware North’s actions, Suffolk OTB confronted Delaware North to

get to the bottom of the unlawful spending and put a stop to it. This shows materiality.

              In addition, the fact that Suffolk OTB instituted this lawsuit also demonstrates the

materiality of the false records and statements. This is not a qui tam suit in which a private

individual is speculating about what is material to the government. This case is the government

initiating a direct civil enforcement action alleging that it would not have paid claims or allowed

Delaware North to retain money related to its private business. Clearly, the alleged falsity is

material. See, e.g., United States v. Luce, 873 F.3d 999, 1008 (7th Cir. 2017) (materiality

requirement met where government began debarment proceedings after learning of false claim);

United States ex rel. Badr v. Triple Canopy, Inc., 857 F.3d 174, 179 (4th Cir. 2017)

(government’s decision to “immediately intervene” indicated materiality requirement had been

satisfied). Delaware North’s contention that the false claims alleged only “minor or

insubstantial” noncompliance is belied by the allegations of the Complaint. And, in any event,

materiality is a quintessential issue of fact not appropriate for dismissal in these circumstances.

See, e.g., Press v. Chem. Inv. Servs. Corp., 166 F.3d 529, 538 (2d Cir. 1999) (“The

determination of materiality is a mixed question of law and fact that generally should be

presented to a jury.”); United States v. Mount Sinai Hosp., 256 F. Supp. 3d 443, 450 (S.D.N.Y.

2017) (“Where there is a disputed issue of fact as to the materiality element under the False

Claims Act, courts deny a defendant’s motion[.]”); United States ex rel. Anti-Discrimination

Ctr. of Metro New York, Inc. v. Westchester Cty., N.Y., 668 F. Supp. 2d 548, 568 (S.D.N.Y.




                                                30
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




2009) (“disputed issues of fact require that the [defendant’s] motion . . . on the issue of

materiality be denied.”).

      D.      Suffolk OTB Has Pled the Existence of Hundreds of False “Claims” as
              Required by the NYFCA

              1.      Hundreds of Claims Were Made by Defendants in the Form of
                      “Requests or Demands” for Money

              Delaware North argues that because it obtained tens of millions of dollars from

Suffolk OTB’s bank account, Suffolk OTB’s claim under NYFCA §§ 189(1)(a) and (1)(b) must

be dismissed and its fraud permitted to lie. But, the dollars at issue (that Delaware North has

admitted it has taken) were transmitted to Delaware North in response to a claim for payment to

Suffolk OTB, within the meaning of Sections 189(1)(a) and (b).

              As a practical matter, it works this way: Delaware North pays the “Expenses

incurred in the operation of the Business.” DMS § 6.02.2. All the Gross Revenues of the

Business are supposed to be deposited into Suffolk OTB’s bank account. See DMS §§ 7.01,

7.02.1. Then, periodically, Delaware North submits demands and requests for payments to

Suffolk OTB for reimbursement of Expenses and payment of its Management Fee from Suffolk

OTB’s account. See DMS §§ 7.02.3; 8.01. Such demands and requests contain an implied false

certification that the amount requested is in compliance with the DMS Agreement. See, e.g.,.

Kester 23 F. Supp. at 261 (finding liability where “the party submitting the claim falsely

represents (or ‘certifies’) compliance with a statute, regulation, or contractual provision.”).

These are “call[s] on the government fisc” by Delaware North and thus a “claim” under

NYFCA § 188(1). See, e.g., United States ex rel. Hendow v. Univ. of Phoenix, 461 F.3d 1166,

1173 (9th Cir. 2006) (FCA liability must “involve an actual claim, which is to say, a call on the

government fisc.”). Based on the foregoing, Suffolk OTB has adequately alleged claims within

the meaning of NYFCA §§ 189(1)(a) and 189(1)(b).


                                                31
      Case 1-19-01133-cec             Doc 17      Filed 12/11/19        Entered 12/11/19 16:44:59




                 Delaware North contends that notwithstanding the fact that it makes demands and

 requests for payment to Suffolk OTB, the Bank of New York Mellon cases absolve it from

 liability under Sections 189(1)(a) and (b).10 Delaware North is wrong. Delaware North’s “no

 claim” argument does not rely on the facts pled in the Complaint or that it knows exist. Instead,

 it relies on the facts of the Bank of New York Mellon cases, which are materially different that

 those here. In the Bank of New York Mellon cases, the government voluntarily handed over its

 money to Bank of New York to manage before any demand on the government fisc was made

 by Bank of New York. That is not what happened or has been pled here. Suffolk OTB did not

 turn over its money to Delaware North in advance of any claim. The money is in Suffolk

 OTB’s account at the Bank. Then, it is transmitted to Delaware North based on Delaware

 North’s claim and certification of the truth of that claim. When those claims are false they

 violate Sections 189(1)(a) and (b).

                 To the extent Delaware North is arguing that accounting statements reflecting past

 debits are not “claims,” Suffolk OTB does not contend that they are. Rather, statements and

 records of accounting activities are false statements in support of the false claims that violate

 Section 189(1)(b). In the Bank of New York Mellon cases, plaintiffs contended that the false

 accounting statements were both the false claim and the false statement. But the court found no

 “claim” because the government had handed their money to Bank of New York before any

 claim was made. Here, Suffolk OTB did not turn over any money to Delaware North for the




10
         See In re Bank of N.Y. Mellon Corp. Forex Transactions Litig., 991 F. Supp. 2d 479, 491 (S.D.N.Y. 2014);
People ex rel. Schneiderman v. Bank of N.Y. Mellon Corp., 40 Misc. 3d 1232(A), 977 N.Y.S.2d 668 (N.Y. Sup.
2013); Commonwealth ex rel. FX Analytics v. Bank of N.Y. Mellon, 84 Va. Cir. 473 (Va. Cir. Ct. 2012); In re Bank
of N.Y. Mellon Corp. False Claims Act Foreign Exch. Litig., 851 F. Supp. 2d 1190 (N.D. Cal. 2012).



                                                       32
     Case 1-19-01133-cec         Doc 17    Filed 12/11/19      Entered 12/11/19 16:44:59




hotel kitchen, for example, until Delaware North made a false claim for the funds. That shows

there is a material, false claim here.

               Further, the Bank of New York Mellon cases confirm that the law does not require

plaintiffs to allege an explicit request or demand: “Surely [the statutory analogues to 189(a) and

(b)] do not require a formal invoice for liability to attach; conduct amounting to an implicit

request may be sufficient.” In re Bank of New York Mellon Corp. Forex Transactions Litig.,

991 F. Supp. 2d at 491. Because it is common sense that money held in one bank account

(Suffolk OTB’s) cannot go to another bank account (Delaware North’s) without a request or

demand for the transfer of funds, drawing all inferences in Plaintiff’s favor, Suffolk OTB has

pled a “request or demand” for money.

               2.      Hundreds of False Claims were “Presented” to Officers, Employees or
                       Agents of Suffolk OTB

               For the same reasons articulated above, Suffolk OTB has also pled “presentment.”

In order for Delaware North to be paid from Suffolk OTB’s bank accounts, it had to ask. As a

practical matter, Delaware North presents these claims in the form of ACH electronic transfer

requests to Suffolk OTB and “an agent of the . . . local government,” the custodian of Suffolk

OTB’s funds. See, e.g., Compl. ¶ 42 (“at least 92 erroneous change orders . . . representing

millions of dollars in overcharges submitted to and charged to Suffolk OTB by Delaware

North”).

       E.      Delaware North’s Liability under Sections 189(1)(d), (g) and (h) Preclude it
               from Escaping Liability on Its Baseless “Claim” Argument

               Sections 189(1)(d), (g) and (h) prevent wrongdoers like Delaware North from

escaping NYFCA liability based on the argument before this Court that there is no “claim.”

Together, these sections impose liability for so-called “reverse false claims,” where a

government contractor does not transmit money it owes to a government actor. So, if Delaware


                                                33
       Case 1-19-01133-cec              Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




 North is correct that it did not need to make false claims because it was holding Suffolk OTB’s

 money, then these sections impose liability for failing to deliver and transmit the right amounts

 of that money back to Suffolk OTB.11

                  1.       Suffolk OTB has Stated a Claim Under § 189(1)(d)

                  Section 189(1)(d) imposes liability on any person who “has possession, custody,

 or control of property or money used, or to be used, by the state or a local government and

 knowingly delivers, or causes to be delivered, less than all of that money or property.”

 Delaware North asserts that Suffolk OTB should bear the expenses of Delaware North’s hotel

 (for example), because it is part of the Business. Mot. at 25–26 (arguing all driveways,

 entrances and exits, restrooms, elevators and escalators, service corridors, alleys, sign frontage

 and parking areas are Common Areas serving the VLT Facility, which Suffolk OTB must pay

 for). If Delaware North’s hotel is part of the Business, then Delaware North should have been

 delivering the Gross Revenues from the hotel to Suffolk OTB. DMS § 7.02.3(j)(iii) (“one

 hundred percent (100%) of the Residual Cash Flow will be paid to Suffolk OTB”). By failing

 to do so, Delaware North has violated Section 189(1)(d). See Compl. ¶ 10 (Delaware North has

 “improperly diminish[ed] the net gaming revenues flowing to Suffolk OTB”). Delaware

 North’s argument that Suffolk OTB has failed to plead “delivery” should be rejected.




11
          Furthermore, if Delaware North is correct that the Bank of New York Mellon cases preclude Section
189(1)(a) liability here, then that same line of cases indicates that Section 189(1)(d) would apply. More specifically,
if Delaware North is right (which it is not) that its claims to Suffolk OTB’s funds are not actually “claims” and
instead are akin to Bank of New York’s debiting of funds from an account it already holds, then its failure to deliver
the right amount of money to Suffolk OTB violates Section 189(1)(d). See In re Bank of N.Y. Mellon Corp. Forex
Transactions Litig., 991 F. Supp. 2d at 491 (“In [California’s analogue to § 189(1)(d)], the legislature specifically
contemplated the possibility that a defendant might be liable—even in the absence of a ‘claim’—when it ‘[h]as
possession, custody, or control of public property or money’ and fails to deliver all of that property. . . .Thus, the
legislature was well aware that liability may be appropriate even in the absence of any request or demand.”)
(emphasis added).



                                                          34
       Case 1-19-01133-cec             Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




                  2.       Suffolk OTB Has Stated A Claim For Reverse False Claim Liability
                           Under § 189(1)(g) and § 189(1)(h)

                  Section 189(1)(g) imposes liability if Delaware North “knowingly makes, uses, or

 causes to be made or used, a false record or statement material to an obligation to pay or

 transmit money or property to” Suffolk OTB. Section 189(1)(h)12 imposes liability if Delaware

 North “improperly avoids or decreases an obligation to pay or transmit money or property to the

 state or a local government, or conspires to do the same[.]”13

                  These claims are not duplicative for the same reason Section 189(1)(d) liability is

 not duplicative. If Delaware North is right and it does not actually make “claims” and instead it

 holds the money and does not pay Suffolk OTB the right amount, it violates the “reverse false

 claim” provisions of the Act. See, e.g., Kane, 120 F. Supp. 3d at 394 (The FCA “unequivocally

 provides that to retain—to not return—an overpayment constitutes a violation of the FCA.”);

 United States ex rel. Spay v. CVS Caremark Corp., 913 F. Supp. 2d 125 (E.D. Pa. 2012)

 (denying motion to dismiss where defendants submitted Medicaid cost reconciliations to

 government but did not reveal overpayments they were required to return); United States ex rel.

 Howard v. Harper Constr. Co., No. 7:12-CV-215-BO, 2015 WL 13271595, at *2 (E.D.N.C.

 Feb. 20, 2015) (plaintiff adequately alleged reverse false claim violation in connection with



12
          The Complaint pleads facts sufficient to establish and provide notice of Section 189(1)(h) liability in
addition to liability under Section 189(1)(g). See Bristol–Myers Squibb Co. v. Matrix Labs. Ltd., 655 F. App’x 9,
11–12 (2d Cir. 2016) (federal pleading rules call for a short and plain statement of the claim, “they do not
countenance dismissal of a complaint for imperfect statement of the legal theory”); Smith v. Bank of Am., N.A., 615
F. App’x 830, 833 (5th Cir. 2015) (“The Supreme Court has made clear that a Rule 12(b)(6) motion turns on the
sufficiency of the factual allegations in the complaint. A complaint need not cite a specific statutory provision or
articulate a perfect statement of the legal theory supporting the claim asserted.”). While it was not necessary to
mention Section 189(1)(h) specifically in the Complaint, Suffolk OTB will seek leave to amend to cite Section
189(1)(h) if required.

13
         The claim under Section 189(1)(h) that Delaware North “improperly avoided an obligation to pay or
transmit money or property to the Government” is not subject to Rule 9(b). See Takemoto, 157 F. Supp. 3d at 276
(addressing 31 U.S.C. § 3729(a)(1)(g), the analog to Section 189(1)(h)).



                                                         35
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




 government subcontract agreement). The false statements material to these failures to pay

 Suffolk OTB are the same ones that support liability under Section 189(1)(b), including

 accounting statements, reconciliations, invoices, monthly utility and rent bills, descriptions of

 construction costs and expenses and other documents reflecting overcharges to Suffolk OTB.

II.    THE COMPLAINT STATES A CLAIM FOR BREACH OF CONTRACT
       (SECOND CAUSE OF ACTION)

               Delaware North concedes that “[t]he Complaint really states . . . a breach of

 contract case.” Mot. at 3. It nonetheless argues that some of the various breaches asserted in

 the Complaint are not, in fact, breaches. Each of Delaware North’s arguments is addressed

 below.

       A.      DNC Gaming Is Liable for Delaware North’s Breach of Contract

               As a signatory and co-promisor of the DMS Agreement, DNC Gaming is jointly

 and severally liable for Delaware North Manager’s breaches of contract. See Battery Assocs.,

 Inc. v. J & B Battery Supply, Inc., 944 F. Supp. 171, 178 (E.D.N.Y. 1996) (stating “[g]enerally

 joint and several liability arises when two or more persons co-sign a contract”). Under New

 York law and accorded to “settled rules governing the interpretation of contracts[,] when two or

 more entities take on a contractual obligation they generally do so jointly.” NYKCool A.B. v.

 Pac. Fruit, Inc., 507 F. App’x 83, 87 (2d Cir. 2013); see also United States Printing &

 Lithograph Co. v. Powers, 233 N.Y. 143, 152 (1922) (“It is a general rule so well established as

 not to require extended discussion, that promises by two or more persons create a joint duty”);

 Wujin Nanxiashu Secant Factory v. Ti-Well Int’l Corp., 22 A.D.3d 308, 310–11 (N.Y. App.

 Div. 2005) (same); Herrera v. Eastside Wok, Inc., No. 13 Civ. 9137 (JLC), 2014 WL 6678281,

 at *3 (S.D.N.Y. Nov. 25, 2014) (same); Alexander v. Wheeler, 64 A.D.2d 837 (N.Y. App. Div.

 1978) (same); Donzella v. N.Y. State Thruway Auth., 7 A.D.2d 771, 772 (N.Y. App. Div. 1958)



                                                 36
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




(noting two parties entering into contract for services creates presumption of joint duty). In

addition, it is proper to hold Defendants jointly and severally liable in a case like this one,

where DNC Gaming and Delaware North Manager communicate with Plaintiff as a single unit,

there is one single agreement governing the relationship, and Defendants responded to

Complaint in the same legal document. See NYKCool A.B., 507 F. App’x at 87.

              Delaware North argues that the breach of contract clause should be dismissed

against DNC Gaming because the “whereas” clause of the DMS Agreement says DNC Gaming

signed the DMS Agreement “solely” for the “purpose” of guaranteeing certain payments not at

issue in this case. Delaware North is wrong. DNC Gaming cannot disclaim liability for a

breach of a contract it signed based on language in a “whereas” clause. “[S]uch recitals cannot

remove or limit rights that are plainly given by the terms of an agreement.” Brown v. Miguens,

No. 02 Civ. 5278 (JSM), 2003 WL 1090304, at *3 (S.D.N.Y. Mar. 11, 2003); see also Genovese

Drug Stores, Inc. v. Connecticut Packing Co., 732 F.2d 286, 291 (2d Cir. 1984) (“an expression

of intent in a ‘whereas’ clause of an agreement . . . cannot create any right beyond those arising

from the operative terms of the document.”). The “whereas” clause is not sufficient to disclaim

the presumption of joint and several liability among co-promisors, as specific “words of

severance are necessary to overcome this primary presumption.” Herrera, 2014 WL 6678281,

at *3.

              At most, each of Delaware North’s arguments in support of dismissing DNC

Gaming from Plaintiff’s second cause of action suggest ambiguity as to the terms of the DMS

Agreement, which cannot be resolved on a motion to dismiss. See, e.g., Pegler v. NRG

Residential Solar Sols. LLC, No. 17 Civ. 4319 (LGS), 2018 WL 1033232, at *2 (S.D.N.Y. Feb.

20, 2018) (denying motion to dismiss because “an ambiguous contract raises a question of fact




                                                 37
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




as to the parties’ mutual intent, to be resolved by the trier of fact.”). Therefore, the Motion

should be denied.

      B.      Suffolk OTB’s Contract Claims Regarding Construction Costs, Trademarks
              and Suffolk OTB’s Consent Survive as a Matter Of Law

              Suffolk OTB has asserted one cause of action for breach of contract. Delaware

North argues that the pleading is “deficient.” But, Delaware North does not argue that the

elements have been insufficiently pled or that the cause fails as a matter of law. Instead,

Delaware North quibbles with some bases of the cause of action. The issues raised by Delaware

North are addressed below, but the cause of action clearly must survive because, among other

things, Delaware North has not sought its dismissal.

              1.      The Complaint Pleads A Breach of Contract Based On Misallocation
                      Of Construction Costs To Suffolk OTB

              Under the DMS Agreement, Suffolk OTB is responsible for “Development Costs”

(defined as costs to “design, construct, furnish and equip the Gaming Facility and the Common

Areas which serve the Gaming Facility”). DMS § 1.01; Compl. ¶ 37 (emphasis added).

Delaware North concedes that it is responsible for costs relating to the DNC Retained

Businesses. See Mot. at 9 (“Expenses incurred by Jake’s 58 in connection with the DNC

Retained Business are the responsibility of Delaware North Manager.”); see also Compl. ¶ 37.

The Complaint alleges that Delaware North is trying to pin costs relating to its retained business

on Suffolk OTB (while keeping the profits for itself). Compl. ¶¶ 3–4.

              Suffolk OTB has pled that the elevator upgrades and valet service construction

did not “serve the Gaming Facility” and are therefore not its responsibility. The Gaming

Facility is only in the basement, first and mezzanine levels. Yet, the elevator upgrades serve

Delaware North’s hotel, a Delaware North Retained Business. Compl. ¶ 38(c). Likewise, the

parking upgrades serve the valet parking business. That is also a Delaware North Retained


                                                38
      Case 1-19-01133-cec             Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




 Business under the DMS Agreement. See Compl. ¶ 38(f); DMS § 1.01 (“‘DNC Retained

 Business’ means . . . the provision of valet parking services and other parking revenue.”).

 Delaware North’s arguments that these costs to upgrade its own Retained Business facilities

 should be borne by Suffolk OTB are based on fact questions not to be resolved on a motion to

 dismiss. The Court certainly cannot determine they are Suffolk OTB’s responsibility as a

 matter of law.

                  2.      The Complaint Pleads A Breach of Contract Based On
                          Misappropriation Of Marks

                  Delaware North has admitted to breaches of the DMS Agreement regarding

 Suffolk OTB’s intellectual property by virtue of the fact that it has abandoned applications it

 submitted to the PTO, in which it falsely claimed ownership of the Jake’s 58 logo.14 Mot at 26.

 Now, Delaware North engages in a tortured reading of Section 10.02 of the DMS Agreement in

 an attempt to justify its brazen misappropriation of “Jake’s 58” trademarks and trade names.

 Again, to the extent Delaware North’s arguments to do not fail outright (which they do), at most

 they create factual disputes as to the meaning of the DMS Agreement.

                  Section 10.02 of the DMS Agreement provides:

                  Prior to the Commencement Date, Suffolk OTB and the
                  Manager will determine the trade names, trademarks and
                  service marks (the “Marks”) to be used in connection with
                  the operation of the Business (defined as the casino business)
                  . . . . the Marks will be used in connection with the promotion
                  and marketing of the Business . . . . Ownership of the Marks
                  will, for all purposes, belong exclusively to Suffolk OTB.




14
         Delaware North’s abandonment of the Marks does not moot Suffolk OTB’s breach of contract claim.
Delaware North is still using the Marks in commerce on the Jake’s 58 website, from which it derives advertising and
other profits. Delaware North has refused to assign the domain name for the Jake’s 58 website to Suffolk OTB.
Delaware North is responsible for any damages flowing to Suffolk OTB as a result of its misappropriation of the
Marks.



                                                        39
      Case 1-19-01133-cec             Doc 17       Filed 12/11/19       Entered 12/11/19 16:44:59




 Though a commonsense reading of the provision would dictate that “Marks” means simply

 “trade names, trademarks and service marks,” Delaware North invents the added requirement

 that only marks “jointly determined” by Suffolk OTB and Delaware North are included in the

 definition. This reading is illogical.

                 First, the word “jointly” does not appear in Section 10.02, the only provision

 about the Marks. The Manager and Suffolk OTB could separately determine different trade

 names to be used in connection with the business and they would still be “Marks” under the

 plain language of the contract.

                 Second, even if a “joint” determination were required, the Complaint does not

 allege unilateral action by Delaware North; it simply says Delaware North wanted to name the

 casino after itself. Compl. ¶ 3. Indeed, if Delaware North unilaterally adopted the logo without

 Suffolk OTB’s consent (as its Motion suggests), that in itself would constitute a breach of

 Section 10.02 under Delaware North’s own reading, requiring “joint” action. At bottom,

 Delaware North’s post-hoc rationalization for the blatantly false statements it made to the PTO

 regarding ownership of the trademarks must be rejected and Suffolk OTB’s trademark-related

 breach claim must proceed.

                 3.       The Complaint Pleads A Breach of Contract Based On Delaware
                          North’s Failure to Obtain Suffolk OTB’s Consent, Agreement and
                          Input

                 Finally, Delaware North argues that Suffolk OTB’s allegations as to Delaware

 North’s failure to obtain its consent, agreement and input are conclusory and “need not be

 credited on a motion to dismiss.”15 Delaware North’s argument makes no sense in light of the




15
          Delaware North’s argument that Suffolk OTB has failed to allege a single instance where Delaware North
failed to obtain Suffolk OTB’s consent, agreement or input in breach of the DMS Agreement, Mot. at 27, is hard to


                                                       40
      Case 1-19-01133-cec             Doc 17      Filed 12/11/19        Entered 12/11/19 16:44:59




 Complaint’s allegations. The Complaint says, inter alia, that Delaware North did not obtain its

 prior approval before instituting marketing programs designed to facilitate Delaware North

 paying itself for empty hotel rooms, in breach of Section 6.02.6 of the DMS Agreement. See

 Compl. ¶ 79. The Complaint also alleges that Delaware North delivered the 2019 operating

 budget past the contractual deadline in order to deprive Suffolk OTB from granting its informed

 consent in violation of Section 5.05.3 of the DMS Agreement. See Compl. ¶¶ 95–96. The

 Complaint outlines numerous other expenses incurred in connection with the development and

 construction of the VLT Facility, see Compl. at ¶¶ 37–43, and details how Suffolk OTB was

 kept in the dark about these costs for months, in violation of Sections 7.05 and 8.04 of the DMS

 Agreement (which requires prior approval in connection with the retention of third party

 professionals and service providers). Id. These allegations are far from conclusory and do not

 support a request for dismissal of the breach of contract claim.

                 4.       The Complaint Pleads A Breach of Contract Based On Delaware
                          North’s Breach of the Implied Covenant of Good Faith and Fair
                          Dealing That Survives Dismissal

                 “Every contract governed by New York law implies a covenant of good faith and

 fair dealing pursuant to which neither party to a contract shall do anything which has the effect

 of destroying or injuring the right of the other party to receive the fruits of the contract.” Hard

 Rock Cafe Int’l v. Hard Rock Hotel Holdings, LLC, 808 F. Supp. 2d 552, 567 (S.D.N.Y. 2011)

 (quotations omitted); accord Carvel Corp. v. Diversified Mgmt. Group, Inc., 930 F.2d 228, 230

 (2d Cir. 1991). “The covenant is violated when a party to a contract acts in a manner that,

 although not expressly forbidden by any contractual provision, would deprive the other of the




square with its simultaneous argument that Delaware North did not misappropriate trademarks because it
unilaterally determined the Jake’s 58 logo without Suffolk OTB’s consent, agreement or input.



                                                       41
     Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




right to receive the benefits under their agreement.” Don King Prods., Inc. v. Douglas, 742 F.

Supp. 741, 767 (S.D.N.Y. 1990). While the covenant of good faith and fair dealing does not

add obligations beyond those in the contract, “it protects a party to a contract from improper

conduct that subverts the contract itself.” Hard Rock, 808 F. Supp. 2d at 567 (quotations

omitted). Suffolk OTB has not asserted a cause of action that rests solely on the breach of the

implied covenant of good faith and fair dealing. But, it could have. Suffolk OTB has made

distinct allegations showing that Delaware North’s improper conduct subverted the purpose of

the DMS Agreement.

              Suffolk OTB alleges that Delaware North has engaged in at least the following

examples of bad faith conduct: “operating under a bad faith business plan whereby Suffolk OTB

shoulders as many costs as possible” as evidenced by the fact that 100% of Delaware North’s

erroneous construction change orders favored itself (Compl. ¶¶ 35, 43, 115); “exercising their

discretion against the best interests of Suffolk OTB,” including by refusing to relinquish control

of the accounts payable function, paying itself millions of dollars in complimentary hotel stays

when it knows it does not drive increased gaming revenue (Compl. ¶¶ 76–77); keeping Suffolk

OTB in the dark about many of its own business operations (Compl. ¶¶ 92–95); failing to

disclose to Suffolk OTB that it filed numerous trademark applications in which it falsely

claimed ownership over the marks (Compl. ¶¶ 47–51); and providing the annual operating

budget to Suffolk OTB with insufficient time to review before it was due to the Gaming

Commission in order to prevent Suffolk OTB from catching Delaware North’s self-dealing

(Compl. ¶¶ 95–96).

              These allegations, while similar to its breach of contract allegations (as they must

be to avoid imposing extra-contractual obligations) support an inference of improper conduct




                                               42
       Case 1-19-01133-cec          Doc 17   Filed 12/11/19     Entered 12/11/19 16:44:59




 that subverts the purpose of the contract. See, e.g., Hard Rock, 808 F. Supp. 2d at 567 (allowing

 implied covenant claim at the motion to dismiss phase where, though largely based on the same

 factual predicates, plaintiffs added an allegation that defendant had made improper

 misstatements to third parties).

               Additionally, even if the allegations underpinning the breach of the implied

 covenant claim are entirely duplicative of its breach of contract allegations: “Alternative

 pleading is permitted” because “a party is only precluded from recovering on both theories at

 the same time.” Hard Rock, 808 F. Supp. 2d at 567; see also Fantozzi v. Axsys Techs., Inc., No.

 07 Civ. 02667 (LMM), 2008 WL 4866054, at *7 (S.D.N.Y. Nov. 6, 2008) (same). Especially at

 this stage in the proceeding, where “the meaning of the parties’ contract has yet to be

 determined, it is too soon to address whether the plaintiffs’ claim of breach of the covenant of

 good faith and fair dealing is duplicative.” E*Trade Fin. Corp. v. Deutsche Bank AG, No. 05

 Civ. 0902, 2008 WL 2428225, at *26 (S.D.N.Y. June 13, 2008) (quotations omitted); see also

 Xpedior Creditor Tr. v. Credit Suisse First Bos., 341 F. Supp. 2d 258, 272 (S.D.N.Y. 2004)

 (“[T]he Federal Rules explicitly permit a party to plead causes of action in the alternative,

 regardless of consistency.”) (quotations omitted).

               If it were the case, as Delaware North will surely argue, that its practice of

 overcharging Suffolk OTB at every turn, misappropriating its marketing funds and registering

 its trademarks without telling it is all perfectly permissible under the DMS Agreement, the

 implied covenant ensures that Delaware North cannot profit from such conduct.

III.    SUFFOLK OTB HAS STATED A CLAIM FOR BREACH OF FIDUCIARY DUTY

        A.     Suffolk OTB Has Pled Delaware North Manager’s Fiduciary Duty

               The allegations in the Complaint, which must be taken as true, describe a public

 benefit corporation seeking out an experienced agent through a competitive bidding process to


                                                 43
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




entrust with the development, management and operation of its most valued asset—the VLT

Facility which was to be its path back to solvency. Compl. ¶¶ 20–22. Suffolk OTB chose

Delaware North on the basis of its alleged “expertise at working in public-private partnerships.”

Compl. ¶ 20. Upon accepting Delaware North’s bid in 2014, Delaware North and Suffolk OTB

entered into a principal-agent relationship in which Suffolk OTB “placed Delaware North in a

position of trust and confidence to act faithfully on its behalf in developing and operating its

VLT gaming facility.” Compl. ¶ 22. Delaware North then promised that its “services will be

performed out of a ‘to be established’ local unit as appropriate.” Compl. ¶ 141. Delaware

North assisted and advised Suffolk OTB from 2014-2016 to find a site for the VLT Facility,

first in Medford, and then in Islandia. Compl. ¶¶ 24–26.

              As promised in the RFP, years later, when the parties settled on Islandia, Suffolk

OTB and Delaware North Manager entered into the DMS Agreement, which confirmed that the

Manager would be the vehicle through which Delaware North Gaming would impart its

“experience and expertise” to Suffolk OTB. Compl. ¶ 141. The DMS Agreement

memorialized the terms of the fiduciary relationship the parties had contemplated and operated

under since Suffolk OTB accepted Delaware North’s proposal in 2014: Suffolk OTB granted

the Manager “the sole and exclusive right to manage the day-to-day operations of the Business

on behalf of Suffolk OTB” and the “full scope of authority necessary to perform its

obligations,” including control over its accounts payable function, provided the Manager

performed all activities “for the exclusive account and benefit” of Suffolk OTB.” See Compl.

¶¶ 98–99, 106; DMS §§ 5.01; 7.01.

              These allegations plead a quintessential fiduciary relationship: Under New York

law, “a fiduciary relationship is one founded upon trust or confidence reposed by one person in




                                                44
       Case 1-19-01133-cec             Doc 17      Filed 12/11/19        Entered 12/11/19 16:44:59




 the integrity and fidelity of another. It is said that the relationship exists in all cases in which

 influence has been acquired and abused, in which confidence has been reposed and betrayed.”16

 Penato v. George, 52 A.D.2d 939, 942 (N.Y. App. Div. 1976); see also United Feature

 Syndicate, Inc. v. Miller Features Syndicate, Inc., 216 F. Supp. 2d 198, 218 (S.D.N.Y. 2002)

 (courts look to “whether a party reposed confidence in another and reasonably relied on the

 other’s superior expertise or knowledge”). As here, in the context of property management, a

 fiduciary is “one who transacts business, or who handles money or property, which is not his [or

 her] own or for his [or her] own benefit, but for the benefit of another person, as to whom he [or

 she] stands in a relation implying and necessitating great confidence and trust on the one part

 and a high degree of good faith on the other part.” Board of Mgrs., 193 A.D.2d at 325.

                 Delaware North’s attempt to undercut the fiduciary duty it owes Suffolk OTB by

 suggesting that the parties have nothing more than an arms’ length, commercial relationship as a

 matter of law must fail.17 In fact, by attempting to impugn Suffolk OTB’s business acumen,

 Delaware North effectively concedes that Suffolk OTB placed Delaware North in a special

 position of trust and was reliant on Delaware North’s expertise. See Mot. at 1 (“Suffolk OTB

 lacked the qualifications . . . to operate a VLT casino and needed an experienced partner to

 develop, finance and manage the new business venture.”). A hallmark of a fiduciary


16
         Delaware North appears to contend, based on one case, that Suffolk OTB’s fiduciary duty claims must be
pleaded with particularity “insofar as they sound in fraud.” Suffolk OTB’s breach of fiduciary duty claims do not
sound in fraud and therefore are not subject to a heightened pleading standard. But even if they did, Suffolk OTB
has met the heightened pleading standard with its detailed allegations.

17
          Delaware North cites Chelsea Grand LLC v. Interstate Hotels & Resorts, Inc., No. 09 Civ. 924 (PAC),
2017 WL 1214874 (S.D.N.Y. Mar. 30, 2017) for the proposition that a hotel management contract does not give rise
to a fiduciary duty. There, the Court was bound by a prior decision regarding the agent manager’s scope of
authority that did not even discuss fiduciary duty. And in any event, the DMS Agreement, in which Delaware North
is entrusted with the management of hundreds of millions of dollars on behalf of a government entity, is not akin to
a hotel management agreement.




                                                        45
       Case 1-19-01133-cec             Doc 17       Filed 12/11/19         Entered 12/11/19 16:44:59




 relationship is the principal (Suffolk OTB) trusting the agent (Delaware North Manager) to

 manage a valued asset (the VLT Facility) with specialized expertise. See Winthrop-Univ. Hosp.

 Ass’n v. Sterling Servs. Grp., L.C., No. 08 Civ. 1404 (JS)(ETB), 2009 WL 10709106, at *5

 (E.D.N.Y. Mar. 31, 2009) (finding fiduciary relationship where plaintiff hospital “placed its

 trust and confidence in [Defendant Manager’s] superior expertise and knowledge.”); see also

 JPMorgan Chase Bank, N.A. v. IDW Grp., LLC, No. 08 Civ. 9116 (PGG), 2009 WL 321222, at

 9 (finding fiduciary duty where plaintiff pled reliance on fiduciary’s superior knowledge of the

 relevant marketplace).18

                  Delaware North’s suggestion that the DMS Agreement precludes a fiduciary

 relationship here is simply wrong. The existence of a contract between the parties defining the

 contours of their relationship does not preclude a finding of a fiduciary duty. See Lumbermens

 Mut. Cas. Co. v. Franey Muha Alliant Ins. Servs., 388 F. Supp. 2d 292, 305 (S.D.N.Y. 2005)

 (“[I]f a contract establishes a relationship of trust and confidence between the parties . . . then a

 fiduciary duty arises from the contract which is independent of the contractual obligation.”)

 (quoting GLM Corp. v. Klein, 665 F. Supp. 283, 286 (S.D.N.Y. 1987)).

                  “Where parties have entered into a contract, courts look to that agreement to

 discover . . . the nexus of [the parties’] relationship and the particular contractual expression

 establishing the parties’ interdependency.” Gen. Corp. v. Wellington Adv., 82 N.Y.2d 158, 162



18
         Delaware North’s cited authorities in support of disclaiming its fiduciary duty are inapposite. See Saul v.
Cahan, 153 A.D.3d 947, 949 (N.Y. App. Div. 2017) (no fiduciary relationship based on oral agreement between
sophisticated attorney and “art advisor” where attorney continued to buy paintings independent of art advisor’s
advice); Gen. Corp., 82 N.Y.2d at 163 (no basis for fiduciary relationship apart from contract that stated arms’
length relationship with no control or authority to bind principal); N. Shipping Funds I, LLC v. Icon Capital Corp.,
921 F. Supp. 2d 94, 103-04 (S.D.N.Y. 2013) (no relationship of higher trust was created between plaintiff and
defendant where defendant “agent” was not acting on behalf of plaintiff but rather a separate third-party); Surge
Licensing, Inc. v. Copyright Promotions, Ltd., 258 A.D.2d 257, 258 (N.Y. App. Div. 1999) (simple copyright
royalty agreement with no creation of trust or confidence between parties).



                                                         46
       Case 1-19-01133-cec             Doc 17      Filed 12/11/19         Entered 12/11/19 16:44:59




 (N.Y. App. Div. 1993). Here, the DMS Agreement describes the extraordinary position of trust

 Suffolk OTB placed in the Manager with respect to both its property (the VLT Machines and its

 revenues and expenses) and its expertise (management the VLT Facility).

                 The Complaint alleges that the fiduciary relationship arose out of Delaware

 North’s selection from a competitive bidding process, after which the Manager was created for

 the purpose of imparting its “experience and expertise” to Suffolk OTB. The DMS Agreement

 confirms the terms of the fiduciary relationship. See DMS § 5.01 (“The performance of all

 activities by the Manager pursuant to this Agreement will be on behalf of Suffolk OTB and for

 its exclusive account and benefit.”); DMS § 16.01 (requiring Manager to act “solely as the agent

 of Suffolk OTB.”).19 Far from relying on “fiduciary buzzwords,” both the allegations in the

 Complaint and the terms of the DMS Agreement are emblematic of a fiduciary relationship and

 preclude dismissal.

                 Delaware North has been entrusted with “the sole and exclusive right to manage

 the day-to-day operations of the Business” of a public entity’s most valuable asset that is

 generating hundreds of millions of dollars. There can be no determination at the pleading stage

 that a fiduciary duty did not exist as a matter of law. “Because the inquiry as to whether a

 fiduciary relationship exists is necessarily fact-specific, a ‘claim alleging the existence of a

 fiduciary duty usually is not subject to dismissal under Rule 12(b)(6).’” JPMorgan Chase

 Bank, 2009 WL 321222, at *9 (quoting Abercrombie v. Andrew Coll., 438 F. Supp. 2d 243, 274

 (S.D.N.Y. 2006)); Cf. Asian Vegetable Research & Dev. Ctr. v. Inst. of Int’l Educ., 944 F.



19
          Tellingly, Delaware North does not mention Section 5.01 at all. Further, the fact that Section 16.01 also
describes the Manager as an “Independent Contractor” for Suffolk OTB does not, as Delaware North suggests,
undermine the Manager’s status as a fiduciary. See Winthrop, 2009 WL 10709106 at 6 (“It is well established that
the fact that the agreement refers to [a party] as an “independent contractor” does not defeat the existence of a
fiduciary relationship where one would otherwise exist.”).



                                                        47
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




Supp. 1169, 1178 (S.D.N.Y. 1996) (finding no fiduciary duty as a matter of law where contract

contained express provision “clearly and unambiguously disclaim[ing] a fiduciary relationship).

      B.      Suffolk OTB’s Breach of Fiduciary Duty Claim is Not Duplicative of Its
              Breach of Contract Claims

              Suffolk OTB’s breach of fiduciary duty claim is also distinct from its breach of

contract claims. Delaware North overstates the relevant standard, incorrectly suggesting that

any overlap in the conduct constituting a breach of contract and breach of a fiduciary duty

warrants dismissal of one of the claims. This is not the case. Rather, “it is established that the

same conduct which may constitute the breach of a contractual obligation may also constitute

the breach of a duty arising out of the relationship created by contract but which is independent

of the contract itself.” Winthrop, 2009 WL 10709106 at 6. . As such, a breach of fiduciary duty

claim is “not subject to dismissal as duplicative” even if it “concerns some of the same

underlying conduct as the breach of contract claim” so long as “the allegations concern a breach

of a duty that is independent of the contract[.]” 37 E. 50th St. Corp. v. Rest. Grp. Mgmt. Servs.,

LLC, 156 A.D.3d 569, 571 (N.Y. App. Div. 2017).

              As outlined in Section III.A, Suffolk OTB has established a fiduciary duty arising

independently from the contract, having its roots in the RFP process that predates the DMS

Agreement by years. Suffolk OTB relied upon Delaware North Manager’s expertise to develop

and manage the VLT Facility in good faith, entrusting Delaware North with the authority to

manage its business and money. Delaware North Manager then breached this independently

existing duty by “intentionally improperly perform[ing] their contract . . . to [their] own

substantial benefit.” See 37 E. 50th St., 156 A.D.3d at 571. Specifically, the Complaint alleges

that Delaware North Manager breached its fiduciary duty by, inter alia, failing to act for Suffolk

OTB’s exclusive benefit, exercising its managerial duties to enrich itself and its affiliates at



                                                48
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




Suffolk OTB’s expense, misappropriating Suffolk OTB’s intellectual property, overcharging

Suffolk OTB for improvements to Delaware North’s private business, using Suffolk OTB’s

marketing budget to enrich it and its affiliates’ private hotel business, refusing to relinquish

control of Suffolk OTB’s accounts payable function when asked and exercising its discretion

against the best interests of Suffolk OTB. Compl. ¶ 127.

              While much of this conduct also constitutes breaches of the DMS Agreement, it is

the underlying self-dealing and bad faith inherent in these allegations that are the sine qua non

of a breach of fiduciary duty claim. In other words, it is the betrayal, not the breach, that is the

essence of the claim and gives rise to separate liability. See, e.g., Bullmore v. Banc of Am. Sec.

LLC, 485 F. Supp. 2d 464, 471 (S.D.N.Y. 2007) (A tort claim is less likely to be deemed

duplicative of a contract claim where, as here, a defendant with a fiduciary duty exercises broad

discretion in its handling of a client’s matters); Winthrop, 2009 WL 10709106 at *6–7 (breach

of fiduciary duty claim not duplicative of contract claim where “Plaintiff claims that it granted

broad influence and authority to Defendant, and suffered various problems . . . as a result”).

              “At the pleading stage, Plaintiff is not required to guess whether it will be

successful on its contract, tort, or quasi-contract claims.” St. John’s Univ. v. Bolton, 757 F.

Supp. 2d 144, 183 (E.D.N.Y. 2010). Plaintiff is allowed to plead in the alternative, as Rule 8

“embodies a liberal approach to pleading which favors the resolution of cases on the merits of

the plaintiff’s claims.” Id. Suffolk OTB’s breach of fiduciary duty claim, taken in the light

most favorable to Plaintiff, is not impermissibly duplicative of Plaintiff’s breach of contract

claim. As such, it should not be dismissed as duplicative at this juncture in the proceedings.




                                                 49
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




      C.      The Economic Loss Doctrine Does Not Bar Suffolk OTB’s Breach of
              Fiduciary Duty Claim at the Pleading Stage

              Delaware North makes another version of its “duplicative” argument by

contending that the “economic loss doctrine” requires dismissal of Suffolk OTB’s breach of

fiduciary duty claim because it has to allege damages flowing from the tort claims that are

independent of the damages flowing from contract claims. The “doctrine” appears to have been

created by a few judges in the S.D.N.Y. in the unique situation of cases involving breach of

fiduciary duty suits against residential-mortgage-backed securities (“RMBS”) trustees by

investors after the financial crisis. Those cases have nothing to do with the case at bar and are

not well-grounded in New York law.

              The “economic loss rule” stems from Schiavone Constr. Co. v. Mayo Corp., 56

N.Y.2d 667, 669 (1982), and “stands for the proposition that an end-purchaser of a product is

limited to contract remedies and may not seek damages in tort for economic loss against a

manufacturer.” 532 Madison Ave. Gourmet Foods, Inc. v. Finlandia Ctr., Inc., 96 N.Y.2d 280,

288 (2001). The Schiavone rule reflects the premise that “damages arising from the failure of

the bargained-for consideration to meet the expectations of the parties are recoverable in

contract, not tort, unless a legal duty independent of the contract itself has been violated[.]”

Suffolk Laundry Servs., Inc. v. Redux Corp., 238 A.D.2d 577, 578 (N.Y. App. Div. 1997)

(emphasis added). Here, Delaware North has been alleged to have violated its fiduciary duty to

Suffolk OTB independent of the DMS Agreement. See Section III.B, supra.

              Noting that certain S.D.N.Y. cases have taken the economic loss rule and

unjustifiably extended it, other S.D.N.Y. cases in the RMBS context have said that “the

applicability of the economic loss rule outside the product-liability context from which it

originated is doubtful.” Ambac Assurance Corp. v. U.S. Bank Nat’l Ass’n, 328 F. Supp. 3d 159,



                                                50
     Case 1-19-01133-cec          Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




160 (S.D.N.Y. 2018) (finding it “unlikely” that the New York Court of Appeals would apply the

doctrine to a breach of fiduciary duty claim); Emerald Town Car of Pearl River, LLC v. Phila.

Indem. Ins. Co., No. 16 Civ. 1099 (NSR), 2017 WL 1383773, at *4 (S.D.N.Y. Apr. 12, 2017)

(“per se bar” of the economic loss rule does not apply outside of the strict products liability

context); Commerzbank AG v. U.S. Bank Nat’l Ass’n., 277 F. Supp. 3d 483, 496 (S.D.N.Y.

2017) (economic loss rule does not bar tort damages in cases involving breach of a professional

duty); Hydro Inv’rs, Inc. v. Trafalgar Power Inc., 227 F.3d 8, 16 (2d Cir. 2000) (economic loss

rule does not bar tort damages in cases involving professional malpractice). Recognizing this

reality of New York law and rejecting the new “doctrine,” the court in Ambac said: “Absent a

pronouncement by the New York state courts to the contrary, this Court declines to require

[plaintiff] to disaggregate the damages arising from its breach of contract and breach of

fiduciary duty claims at this stage in the proceedings.” Ambac, 328 F. Supp. 3d at 160. This

Court should do the same here.

               Indeed, casebooks are filled with breach of fiduciary claims where the parties’

relationship is governed by express contracts and only benefit of the bargain damages are

sought. See, e.g., 17 Vista Fee Assocs. v. Teachers Ins. & Annuity Assoc. of Am., 259 A.D.2d

75, 83, 693 (N.Y. App. Div. 1999) (“[I]n claims against professionals, a legal duty independent

of contractual obligations may be imposed by law as incident to the parties’ relationship.

Professionals . . . may be subject to tort liability for failure to exercise reasonable care,

irrespective of their contractual duties.” (internal quotation marks omitted)); Commerce &

Indus. Ins. Co. v. Vulcraft, Inc., No. 97 Civ. 2578 (DAB) (MHD), 1998 WL 823055, at *12

(S.D.N.Y. Nov. 20, 1998) (rejecting the application of the economic loss rule and stating that

“[t]he premise for the third-party claim . . . is in substance one for professional malpractice, and




                                                 51
     Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




that obligation is distinct from any contract into which the parties may have entered”); Robinson

Redevelopment Co. v. Anderson, 155 A.D.2d 755, 757 (N.Y. App. Div. 1989) (“We conclude

that the contractual and professional relationship of plaintiff and defendants gave rise to two

distinct wrongs, one contractual and the other grounded in professional malpractice, recoverable

at law.”). Suffolk OTB has alleged an extra-contractual fiduciary duty owed by the Manager,

which the Manager breached, resulting in damage to Suffolk OTB. At the motion to dismiss

phase, this is sufficient to proceed. See generally St. John’s, 757 F. Supp. 2d at 184 (“Many

courts dismissing tort and unjust enrichment claims as duplicative of contract claims have done

so on a motion for summary judgment, with the benefit of a full factual record.”).

      D.      Suffolk OTB’s Aiding and Abetting Breaches of Fiduciary Duty Claim Also
              Survives Dismissal

              “The elements of a cause of action for participation in a breach of fiduciary duty

are: breach by a fiduciary of a duty owed to plaintiff; defendant’s knowing participation in the

breach; and damages.” SCS Commc’ns, Inc. v. Herrick Co., Inc., 360 F.3d 329, 342 (2d Cir.

2004). For the reasons outlined in Section III.A–C, above, Suffolk OTB’s breach of fiduciary

duty claim against Delaware North Manager survives dismissal, thus providing the underlying

breach for an aiding and abetting claim.

              Suffolk OTB has also adequately alleged the “substantial assistance” and

“knowing inducement” of a breach of the underlying fiduciary duty in support of its aiding and

abetting claim against Defendants DNC, DNC Gaming, and Delaware North Properties.

Contrary to Delaware North’s assertions, the Complaint alleges each Defendant’s affirmative

assistance and inducement of the Manager’s breaches, including, inter alia, participating in the

RFP process that gave rise to the fiduciary relationship, including inducing Suffolk OTB to

accept Delaware North’s bid by “touting its expertise and desire to contribute to New York



                                               52
      Case 1-19-01133-cec       Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




State public education”; forming Delaware North Manager as the vehicle through which DNC

and Delaware North Gaming promised to “provide the benefit” of their “expertise and

experience” in the gaming industry to Suffolk OTB; falsely claiming ownership, and/or causing

an affiliate to falsely claim ownership to the PTO of intellectual property belonging exclusively

to Suffolk OTB and not disclosing such actions to Suffolk OTB; as to DNC Gaming: entering

into the DMS Agreement, acting as Manager’s guarantor under the DMS Agreement and

directing every aspect of Manager’s performance of its duties under the DMS Agreement;

refusing to return moneys falsely debited from Suffolk OTB’s bank accounts; as to Delaware

North Properties: purchasing the Islandia Property, entering into the Lease Agreement, which

was the instrumentality through which Suffolk OTB was falsely charged for rent and utilities,

and knowingly participating in the false calculation of square footage for purposes of charging

Suffolk OTB false rent and utility charges. See Compl. ¶ 132. These allegations of “knowing

inducement” and “substantial assistance” are more than enough to survive dismissal at the

pleading stage on an aiding and abetting claim. See, e.g., Szulik v. Tagliaferri, 966 F. Supp. 2d

339, 372 (S.D.N.Y. 2013) (denying motion to dismiss where defendants received misallocated

funds from co-defendant’s breach); Pension Comm. of Univ. of Montreal Pension Plan v. Banc

of Am. Sec., LLC, 652 F. Supp. 2d 495, 503, 511 (S.D.N.Y. 2009) (“substantial assistance”

sufficiently alleged where defendants recorded false financial statements); Glidepath Holding

B.V. v. Spherion Corp., 590 F. Supp. 2d 435, 461 (S.D.N.Y. 2007) (denying motion to dismiss

where defendants provided financial assistance to breaching co-defendant).

IV.    PLAINTIFF’S UNJUST ENRICHMENT CLAIM SURVIVES DISMISSAL

              To state a claim for unjust enrichment, a plaintiff must establish “(1) that the

defendant was enriched; (2) that the enrichment was at plaintiff’s expense; and (3) that the

circumstances are such that in equity and good conscience the defendant should return the


                                               53
     Case 1-19-01133-cec        Doc 17      Filed 12/11/19     Entered 12/11/19 16:44:59




money and property to the plaintiff.” Golden Pac. Bancorp v. F.D.I.C., 273 F.3d 509, 519 (2d

Cir. 2001); Threeline Imports, Inc. v. Vernikov, 239 F. Supp. 3d 542, 563–64 (E.D.N.Y. 2017).

Suffolk OTB has met these pleading requirements by alleging in the Complaint how the

Defendants were unjustly enriched through their bad faith conduct in connection with the

operation of the VLT Facility, including by falsely overcharging Suffolk OTB for expenses,

misappropriating trademarks and marketing funds, and refusing to reimburse Suffolk OTB for

Gaming Commission fines. Compl. ¶¶ 137–139. Delaware North does not dispute that the

Complaint pleads the elements of a claim for unjust enrichment.

              Rather, Delaware North asks this Court to dismiss Suffolk OTB’s unjust

enrichment claim, against all Defendants, because unjust enrichment is a quasi contract claim

viable only in the absence of enforceable agreements, here the DMS and Lease Agreements.

While “it is a general rule under New York law that no claim for unjust enrichment lies where

the subject matter of the claim is covered by a written contract,” “this rule applies only when the

existence of a contract governing the transaction in question is undisputed.” Sofi Classic S.A. de

C.V. v. Hurowitz, 444 F. Supp. 2d 231, 249 (S.D.N.Y. 2006) (sustaining unjust enrichment

claim where parties disagreed as to whether underlying contracts were binding on Defendants);

Hochman v. LaRea, 14 A.D.3d 653, 654–55 (N.Y. App. Div. 2005) (“where . . . there is a bona

fide dispute as to the existence of a contract, or where the contract does not cover the dispute in

issue, a plaintiff may proceed upon a theory of quasi-contract.”). Thus, an unjust enrichment

claim cannot be dismissed at the pleading stage where there is a dispute as to whether a contract

is binding on each of the Defendants, or as to a Defendant’s obligations under the contract, or as

to the scope of the written agreement. See Mathias v. Jacobs, 238 F. Supp. 2d 556, 571




                                                54
     Case 1-19-01133-cec         Doc 17      Filed 12/11/19     Entered 12/11/19 16:44:59




(S.D.N.Y. 2002) (unjust enrichment claim sustained where the parties disputed the validity and

scope of a written agreement).

              Here, the parties dispute the extent to which the DMS Agreement is enforceable

against DNC Gaming. There is also a dispute as to whether the DMS Agreement is fully

binding on DNC and DNC Gaming under a theory of alter ego liability. See Section II.A infra.

These disagreements preclude dismissal of the unjust enrichment claim. See Newman &

Schwartz v. Asplundh Tree Expert Co., 102 F.3d 660, 663 (2d Cir. 1996) (claim for unjust

enrichment “properly pleaded as such in the alternative to the contractual claim” where one

defendant disputed being a party to the contract); Bridgeway Corp. v. Citibank, N.A., 132 F.

Supp. 2d 297, 305 (S.D.N.Y. 2001) (“Because there is a dispute as to defendant's obligations

under the contract . . . plaintiff’s unjust enrichment claim survives”); Cal Distrib., Inc. v.

Cadbury Schweppes Americas Beverages, Inc., No. 06 Civ. 0496 (RMB) (JCF), 2007 WL

54534, at *10 (S.D.N.Y. Jan. 5, 2007) (“Because the parties disagree as to whether the [ ]

Agreements are binding on the Defendants, the Court cannot conclude that the unjust

enrichment cause of action is precluded.”). See Sofi Classic, 444 F. Supp. 2d at 249 (“Here, the

parties disagree as to whether the Joint Venture Agreement and the Settlement Agreement are

binding on the Defendants as ‘alter egos’ of the signatories to the Agreements. Accordingly,

Defendants’ motion to dismiss Plaintiffs’ unjust enrichment claim is denied.”); Picture Patents,

LLC v. Aeropostale, Inc., No. 07 Civ. 5567 (JGK), 2009 WL 2569121, at *3 (S.D.N.Y. Aug. 19,

2009) (allowing unjust enrichment claim to proceed where parties disputed alter ego status that

would bind them to contract); Space, Inc. v. Simowitz, No. 08 Civ. 2854 (SAS), 2008 WL

2676359, at *5 (S.D.N.Y. July 8, 2008) (denying motion to dismiss unjust enrichment claim




                                                 55
     Case 1-19-01133-cec        Doc 17      Filed 12/11/19    Entered 12/11/19 16:44:59




where parties dispute whether non-signatory defendant is individually bound by contracts under

an alter ego theory).

              Additionally, dismissal of an unjust enrichment claim at the pleading stage against

any Defendant is premature where, even as to signatories of the agreement, there may be

disputes over whether the contract governs the subject matter of the dispute. “Where

[d]efendants’ arguments beg the question of what performance the Agreements required of the

Defendants . . . . [o]nly after determining whether, and to what extent, the Agreements governed

the parties’ conduct . . .can the court determine whether the [contract and unjust enrichment]

claims are duplicative.” St. John’s, 757 F. Supp. 2d at 183. Further, should Defendants

establish that “the breaches alleged by Plaintiff were not breaches of duties governed by the

contracts,” dismissal of the unjust enrichment claim would have been premature.” Id. at 184.

And “[e]ven if the agreements are enforceable, the court must still interpret them to determine

whether Plaintiff’s unjust enrichment claims against non-signatory defendants arise out of the

same subject matter.” Id.; see, e.g., MGR Meats, Inc. v. Schweid, No. 10-CV-3068 MKB, 2012

WL 6675123, at *5 (E.D.N.Y. Dec. 21, 2012) (sustaining unjust enrichment claim against non-

signatory to agreement because “a plaintiff may proceed on a theory of unjust enrichment

despite the existence of a valid contract where the contract does not cover the dispute in issue”)

(quoting Mid-Hudson Catskill Migrant Ministry, Inc. v. Fine Hosp. Corp., 418 F.3d 168, 175

(2d Cir. 2005)); see also Zimmerli Textil AG v. Kabbaz, No. 14-CV-1560 (JS) (AYS), 2015 WL

5821523, at *6 (E.D.N.Y. Sept. 30, 2015) (“A quasi-contract claim may be pleaded in the

alternative to breach of contract.”) (quotations omitted).

              Here, the Complaint alleges (and Suffolk OTB will prove) that each of the

Defendants has received ample benefits at Suffolk OTB’s expense by virtue of the extensive




                                                56
       Case 1-19-01133-cec              Doc 17       Filed 12/11/19         Entered 12/11/19 16:44:59




 misallocation scheme alleged in the Complaint. If the Court dismisses the unjust enrichment

 claim before determining the extent to which the DMS Agreement binds DNC Gaming, whether

 alter ego liability binds DNC and DNC Gaming to the DMS and Lease Agreements, and

 whether each of the Defendants’ ill-gotten gains were governed by the DMS and Lease

 Agreement, dismissal of the unjust enrichment claim is premature.

V.       PLAINTIFF’S ALLEGATIONS STATE A BASIS TO PIERCE THE
         CORPORATE VEIL (SEVENTH CAUSE OF ACTION)

                  Defendants are closely-held private companies, two of which (Delaware North

 Manager and Delaware North Properties) were expressly formed by the other two (DNC and

 DNC Gaming) to be the vehicles through which DNC and DNC Gaming would direct, control

 and capitalize upon the businesses at Jake’s 58. Compl. ¶ 141. Delaware North makes the

 baseless claim that DNC and DNC Gaming were included in this case “for harassment purposes

 only,” despite the fact that DNC and DNC Gaming responded together to Suffolk OTB’s RFP

 as “the only entities participating as key team members in connection with the RFP response.”

 Compl. ¶ 141(d). The Complaint demonstrates that DNC and DNC Gaming are indeed proper

 defendants to this lawsuit and Suffolk OTB’s veil piercing allegations must survive past the

 pleading stage.20

                  At the very least, because veil piercing is a fact-intensive exercise, under both

 New York and Delaware law, “a complaint seeking to pierce the corporate veil should not be

 dismissed unless it ‘is totally devoid of solid, nonconclusory allegations.’” Robles v. Copstat



20
         “[B]ecause a veil piercing claimant can prevail without proving fraud, plaintiff’s alter ego allegations will
not be held to the particularity requirement of Fed. R. Civ. P. 9(b). Instead, the allegations properly are judged
according to the liberal ‘notice pleading’ standard of Fed. R. Civ. P. 8(a), which requires only a short and plain
statement of the claim showing that the pleader is entitled to relief.” Kawski v. Johnson & Johnson, No. 04-CV-
6208 CJS, 2005 WL 3555517, at *11 (W.D.N.Y. Dec. 19, 2005). The Complaint meets this standard.




                                                          57
     Case 1-19-01133-cec        Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




Sec., Inc., No. 08 Civ. 9572 (SAS), 2009 WL 4403188, at *2 (S.D.N.Y. Dec. 2, 2009) (quoting

Int’l Credit Brokerage Co. v. Agapov, 249 A.D.2d 77, 78 (N.Y. App. Div. 1998)); Blair v.

Infineon Techs. AG, 720 F. Supp. 2d 462 (D. Del. 2010) (“The nature and extent of the

dominion and control exercised by the [ ] defendants over the [ ] [s]ubsidiaries is a question of

fact, not subject to resolution on a motion to dismiss.”) see also In re Buckhead Am. Corp., 178

B.R. 956, 974–75 (D. Del. 1994) (same).

       A.      Suffolk OTB’s Veil Piercing Allegations Must Be Evaluated on the Merits

               In response to Suffolk OTB’s well-pled allegations, Delaware North contends that

piercing the corporate veil is not a cause of action but “a procedural device through which a

plaintiff may assert facts and circumstances to persuade the court to impose the parent

corporation’s obligation on the subsidiary or vice versa.” Sec. Inv’r Prot. Corp. v. Stratton

Oakmont, Inc., 234 B.R. 293, 321 (Bankr. S.D.N.Y. 1999). Whether Delaware North labels veil

piercing a “procedural device” or “cause of action” is immaterial. Courts routinely evaluate

corporate “alter ego” allegations and pierce the veil when appropriate. Key Items, Inc. v. Ultima

Diamonds, Inc., No. 09 Civ. 3729 (HBP), 2010 WL 3291582, at *10 (S.D.N.Y. Aug. 17, 2010),

cited by Delaware North, does not stand for the proposition that veil piercing “causes of action”

are dismissed automatically under Rule 12(b)(6). To the contrary, the case notes, after a full

consideration of allegations, that a veil piercing claim (like any other claim) can be dismissed if

not adequately pled. Here, the Complaint gives Delaware North notice of Suffolk OTB’s veil

piercing request and the allegations on which the request is based are adequately pled and

sufficient to do so.




                                                58
      Case 1-19-01133-cec             Doc 17      Filed 12/11/19        Entered 12/11/19 16:44:59




        B.       Suffolk OTB’s Veil Piercing Allegations Surpass the Plausibility Threshold
                 and Survive Dismissal

                 Under both Delaware and New York law,21 Suffolk OTB has pled alter ego

 liability of DNC and DNC Gaming. “In order to state an alter ego claim under Delaware law, a

 plaintiff must plead that the parent and subsidiary ‘operated as a single economic entity,’ and

 ‘must demonstrate an overall element of injustice or unfairness.’” Union Carbide Corp. v.

 Montell N.V., 944 F. Supp. 1119, 1144 (S.D.N.Y. 1996) (quoting Fletcher v. Atex, Inc., 68 F.3d

 1451, 1458 (2d Cir. 1995) (applying Delaware law)). “Where a subsidiary is in fact a mere

 instrumentality or alter ego of its owner, a court can pierce the corporate veil.” Id. Under New

 York law, “a party seeking to pierce the corporate veil, and thereby hold another entity or

 individual liable, must show: (1) the alleged alter ego ‘exercised complete domination over the

 corporation with respect to the transaction at issue; and (2) such domination was used to commit

 a fraud or wrong that injured the party seeking to pierce the corporate veil.’” Sentry Ins. A. Mut.

 Co. v. Brand Mgmt. Inc., 120 F. Supp. 3d 277, 286 (E.D.N.Y. 2015) (quoting MAG Portfolio

 Consultant, GMBH v. Merlin Biomed Grp., LLC, 268 F.3d 58, 63 (2d Cir. 2001)). The two

 analyses are “substantially similar.” Wausau Bus. Ins. Co. v. Turner Const. Co., 141 F. Supp.

 2d 412, 417 (S.D.N.Y. 2001).

                 1.       Suffolk OTB Has Alleged “Complete Domination”

                 The Complaint describes the “complete domination” of Delaware North Manager

 by DNC Gaming and DNC under New York law. In New York, courts look to ten equitable




21
         In New York, the law of the state of incorporation determines whether the corporate form will be
disregarded, even in the face of a choice of law provision. Panam Mgmt. Grp., Inc. v. Peña, No. 08 Civ. 2258 (JFB)
(ARL), 2011 WL 3423338, at *3 (E.D.N.Y. Aug. 4, 2011) (citing Kalb, Voorhis & Co. v. Am. Fin. Corp., 8 F.3d
130, 132 (2d Cir. 1993)). Delaware North Manager is incorporated in New York. DNC Gaming and Delaware
North Properties are incorporated in Delaware.



                                                       59
      Case 1-19-01133-cec             Doc 17      Filed 12/11/19        Entered 12/11/19 16:44:59




 factors articulated in Wm. Passalacqua Builders, Inc. v. Resnick, 933 F.2d 131, 139 (2d Cir.

 1991) in considering whether there is “complete domination” by the alleged alter ego entity22:

              (1) the absence of formalities and paraphernalia that are part and parcel
              of the corporate existence, i.e., issuance of stock, election of directors,
              keeping of corporate records and the like, (2) inadequate capitalization,
              (3) whether funds are put in and taken out of the corporation for personal
              rather than corporate purposes, (4) overlap in ownership, officers,
              directors, and personnel, (5) common office space, address and telephone
              numbers of corporate entities, (6) the amount of business discretion
              displayed by the allegedly dominated corporation, (7) whether the related
              corporations deal with the dominated corporation at arm[’s] length, (8)
              whether the corporations are treated as independent profit centers, (9) the
              payment or guarantee of debts of the dominated corporation by other
              corporations in the group, and (10) whether the corporation in question
              had property that was used by other of the corporations as if it were its
              own.

 933 F.2d at 139. There is no prescribed formula as to which, or how many Passalacqua factors

 must be met in order to pierce the veil. But where a plaintiff includes specific factual

 allegations going to certain of the factors, this will be sufficient to survive a motion to dismiss

 and move on to discovery (which is often “squarely within the control” of the defendants), even

 where the allegations are not dispositive of veil piercing. See Cookware Co., LLC v. Austin, No.

 15 CIV. 5796 (DAB), 2017 WL 5198388, at *3 (S.D.N.Y. Oct. 26, 2017) (permitting veil

 piercing claim to proceed to discovery where Defendants used the same contact information,

 guaranteed the other’s obligations and used each other’s property); Int’l Council of Shopping

 Ctrs., Inc. v. Info Quarter, LLC, No. 17-CV-5526 (AJN), 2018 WL 4284279, at *4 (S.D.N.Y.

 Sept. 7, 2018) (because veil piercing inquiry “unsuited for resolution on a pre-answer, pre-

 discovery motion to dismiss” “setting forth some examples of alleged domination may provide


22
         Similar factors are considered by Courts under Delaware’s “single economic entity” test including
“whether the corporation was solvent and adequately capitalized, whether corporate formalities were observed, and
whether the corporation functioned in general “‘as a facade for the dominant shareholder.’” Union Carbide, 944 F.
Supp. at 1145.



                                                       60
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




sufficiently specific factual allegations to support an alter ego claim and result in denial of the

motion to dismiss”).

              Delaware North claims Suffolk OTB has alleged only “overlap in ownership” and

“common office space,” but in reality Suffolk OTB has alleged conduct that goes to numerous

of the Passalacqua factors: DNC and DNC Gaming expressly created the alter ego entities

purely as vehicles through which to provide their management services to Suffolk OTB and to

reap profits from the VLT Facility (factors 1,7); the management of DNC and DNC Gaming

regularly represent and speak for Delaware North Manager and Properties in connection with

business disputes and the alter egos do not exercise independent discretion (factor 9); Delaware

North Properties was created solely to purchase an alternative location for the VLT Facility so

that Suffolk OTB would be forced to be Delaware North’s tenant (factor 10); the Delaware

North entities directed Delaware North Manager to abuse access to Suffolk OTB’s accounts to

claim purposefully misallocated funds (factors 6,10); and, in addition, the entities have

overlapping management and addresses (factors 4,5).

              Further, in evaluating the Passalacqua factors, the Passlacqua court itself noted

that “[a]pplying these—or any other pertinent factors—to the infinite variety of situations that

might warrant disregarding the corporate form is not an easy task because disregarding

corporate separateness is a remedy that “differs with the circumstances of each case.” Wm.

Passalacqua Builders, 933 F.2d at 139; see also Union Carbide, 944 F. Supp. at 1145

(“Defendants have cited no decision holding that the absence of allegations of specific . . .

factors justifies granting a motion to dismiss where the plaintiff has made other relevant

allegations.”) (emphasis added) (applying Delaware law).




                                                 61
      Case 1-19-01133-cec             Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




                 The circumstances of this case, taking the allegations as true and drawing all

 inferences in Plaintiff’s favor, warrant survival of the veil piercing claim past the pleading

 stage. Analogous case law also indicates that the Complaint’s allegations are sufficient to

 survive. See, e.g., Kawski v. Johnson & Johnson, No. 04-CV-6208 CJS, 2005 WL 3555517, at

 *11 (W.D.N.Y. Dec. 19, 2005) (denying motion to dismiss where parent corporation

 communicated directly with injured party regarding the disputes and injured party relied on it);

 Int’l Council of Shopping Ctrs., 2018 WL 4284279, at *4 (denying motion to dismiss where

 complaint alleged intermingling of funds, inadequate capitalization, disregard of corporate

 formalities, and shared common office space and phone numbers); Moses v. Martin, 360 F.

 Supp. 2d 533, 540–41 (S.D.N.Y. 2004) (allegations of a lack of corporate formalities,

 commingling of funds, and self-dealing survive motion to dismiss); Union Carbide, 944 F.

 Supp. at 1145 (denying motion to dismiss where plaintiff alleged parent company caused or

 directed alter ego to breach its contractual commitments).23 Delaware North’s authority for the

 proposition that DNC and DNC Gaming do not have “complete dominion or control” over

 Delaware North Manager and Delaware North Properties use incorrect standards and are not

 analogous to the facts alleged in this case.24




23
         After discovery, Suffolk OTB expects to show that the entities have fully integrated accounting systems
and that all funds are routed through DNC Gaming and/or DNC, Inc., that DNC, Inc. and DNC Gaming directed the
Manager regarding the misallocation of expenses to Suffolk OTB, and that DNC Gaming’s accounting department
prepared and approved many of the false claims and false statements, and that DNC, Inc. and DNC Gaming
personnel directed every aspect of Delaware North managers and Properties supervision of Suffolk OTB employees.

24
         See McAnaney v. Astoria Fin. Corp., 665 F. Supp. 2d 132, 145 (E.D.N.Y. 2009) (on a motion for summary
judgment, entirety of proffered evidence showed defendant was a “common-place . . . corporate form”); In re Ski
Train Fire in Kaprun, Austria on Nov. 11, 2000, 342 F. Supp. 2d 207 (S.D.N.Y. 2004) (entity acquired as fully
independent operation did not warrant veil piercing under Colorado law); A.V.E.L.A., Inc. v. The Estate of Marilyn
Monroe, LLC, 2018 U.S. Dist. LEXIS 35536 (S.D.N.Y. Mar. 5, 2018) (pleading standard not met where plaintiffs
alleged nothing more than shared address).


                                                        62
     Case 1-19-01133-cec         Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




              2.      Suffolk OTB Has Alleged Fraud and Injustice Sufficient to Pierce the
                      Veil

              The Complaint also alleges “the existence of a wrongful or unjust act” toward the

party seeking to pierce the veil, that injured plaintiff. See Sentry Ins. A. Mut., 120 F. Supp. 3d at

286. Here, the allegations are that Delaware North and DNC Gaming created the alter egos for

the purpose of capitalizing on a knowing, intentional and bad faith pattern of enriching itself at

Suffolk OTB’s expense. This easily satisfies the “fraud or injustice” prong. See United States

v. Dynamic Visions, Inc., 220 F. Supp. 3d 16 (D.D.C. 2016) (piercing veil where alter ego

submitted false claims worth hundreds of thousands of dollars in violation of FCA, transferred

funds to parent entity and stonewalled detection efforts). However, even something less than

fraud will do: “This prong does not require evidence of fraud, rather a veil-piercing claimant

can prevail without proving fraud if the claimant can identify some non-fraudulent wrong

attributable to the defendant’s complete domination of a subsidiary entity.” Liberty

Synergistics, Inc. v. Microflo Ltd., 50 F. Supp. 3d 267, 299 (E.D.N.Y. 2014); see also Union

Carbide, 944 F. Supp. at 1145 (“overall element of unfairness and injustice” standard under

Delaware law sufficiently pled where parent entity used alter ego to achieve unlawful business

interests).

              Delaware North’s arguments do not warrant dismissal. Again, it contends that the

“injustice” is simply repackaged breaches of the DMS Agreement, ignoring Suffolk OTB’s

broader allegations of how DNC and DNC Gaming orchestrated a bad faith, self-enriching

scheme through the alter ego entities they formed specifically as “vehicles” to carry out that

purpose and give them cover to avoid liability, as they are doing now. As such, Suffolk OTB




                                                63
       Case 1-19-01133-cec             Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




 has also pled that the injustice at issue was sufficiently linked to Delaware North’s misuse of the

 corporate form.25

VI.      SUFFOLK OTB’S CLAIM FOR A DECLARATORY JUDGMENT ON
         TERMINATION OF THE DMS AGREEMENT IS NOT SUBJECT TO ANY
         CONDITION PRECEDENT (EIGHTH CAUSE OF ACTION)

                  Suffolk OTB’s claim for declaratory relief also survives dismissal. The

 Complaint alleges the occurrence of numerous events of default based on (i) Delaware North’s

 material failure to perform provisions of the DMS Agreement, and (ii) the commission of fraud,

 malfeasance, gross negligence and/or material misrepresentations by the Manager’s employees

 in operating the business. Delaware North does not contest that the conduct outlined in the

 Complaint constitutes events of default under Section 12.03, which grant Suffolk OTB the right

 to terminate the Manager’s employment.26 Instead, Delaware North claims Suffolk OTB’s

 declaratory relief claim is barred because Suffolk OTB has not alleged compliance with Section

 12.03’s “notice and cure” provisions. This is not so.

                  On October 7, 2019, Suffolk OTB provided the Manager with notice of events of

 default, in the form of the Complaint, in accordance with DMS § 16.14’s “Notices” provision.

 Compl. ¶ 149. Such notice triggers the start of various “cure” periods outlined for specific

 events of default. DMS Agreement 12.03(a)–(d). But these cure periods are not a condition




25
         The cases Delaware North cites are not to the contrary. See JSC Foreign Econ. Ass’n Technostroyexport v.
Int’l Dev. & Trade Srvs., Inc., 386 F. Supp. 2d 461, 475 (S.D.N.Y. 2005) (plaintiffs met higher summary judgment
standard by showing Defendants had sufficient control over entity and “ultimate authority to determine where [ ]
income would go”); Ningbo Prods. Imp. & Exp. Co. v. Eliau, 2011 U.S. Dist. LEXIS 125789, at *9 (S.D.N.Y. Oct.
31, 2011) (dismissing claim with “threadbare” allegations of wrongdoing); see also Mobil Oil Corp. v. Linear Films,
Inc., 718 F. Supp. 260 (D. Del. 1989) (declining to find injustice where patent infringement was taking place long
before parent company was incorporated).
26
          Delaware North points to its “hard work” and $100 million investment (for which it has realized millions of
dollars in unjustified returns at Suffolk OTB’s expense). Both are irrelevant to whether the DMS Agreement can be
terminated for events of default.



                                                         64
      Case 1-19-01133-cec            Doc 17       Filed 12/11/19       Entered 12/11/19 16:44:59




 precedent to seeking judicial relief. Nothing in the text of the DMS Agreement precludes

 Suffolk OTB from filing a lawsuit prior to the expiration of a cure period. Section 12.03 only

 purports to prevent Suffolk OTB from actually terminating the contract before the cure period

 ends, which Suffolk OTB has not done.27

                 In any event, case law demonstrates that the events of default Suffolk OTB has

 pled are not “curable,” which excuses Suffolk OTB from observing the notice and cure

 provisions. “Under New York law . . . a contract may be terminated without notice and

 opportunity to cure where there is sufficient evidence of fraud, even where contractual

 provisions require such notice.” 7-Eleven, Inc. v. Khan, 977 F. Supp. 2d 214, 230 (E.D.N.Y.

 2013); see also Blue Bell, Inc. v. W. Glove Works Ltd., 816 F. Supp. 236, 243 (S.D.N.Y. 1993)

 (“In New York, fraud or dishonesty of a sufficient degree will “entitle one party to rescission

 regardless of notice and cure.”). Where such fraud goes to “the root of the matter or essence of

 the contract,” termination is warranted without a right to cure, even if the contract includes

 termination and cure provisions. See Southland Corp. v. Mir, 748 F. Supp. 969 (E.D.N.Y.

 1990).

                 In re Best Film & Video Corp., 46 B.R. 861, 874–75 (Bankr. E.D.N.Y. 1985) is

 instructive. There, the Court outlined how “fundamental dishonesty” by one party could cause

 an irretrievable breakdown of the contractual relationship that excuses compliance with notice

 and cure provisions:

                 There was a frustration of purpose when a breach involving
                 fundamental dishonesty by one party occurred, because no amount
                 of payment for past thefts by [defendant] could ever restore the
                 business trust and confidence which [plaintiff] wanted to have in its
                 distributors. The continuing sense of reliance and security which is

27
         The applicable periods have now each expired and Delaware North has failed to cure, or commence a cure
with respect to each of the Events of Default identified by Suffolk OTB.



                                                      65
       Case 1-19-01133-cec       Doc 17     Filed 12/11/19      Entered 12/11/19 16:44:59




               always an important feature of the bargain had been completely
               destroyed, and could not possibly have been reinstated. Under the
               circumstances, then, [defendant’s] breach was a vital breach, it
               would have been sufficient to allow [plaintiff] to rescind the contract
               even if the contract had been in terms an absolute one for a fixed
               term with no right of termination at all.

46 B.R. at 874. Similarly, in 7-Eleven, Inc. v. Khan, the Court excused the plaintiff’s

compliance with a notice and cure provision in the context of a franchisor/franchisee contract

where the franchisee lied repeatedly about its profits and was generally deceptive toward its

franchisor. 977 F. Supp. 2d at 233. Because such conduct went to the “essence of the contract”

and “served to destroy all trust between [the defendants] and 7-Eleven,” “7-Eleven has been

deprived of its contractual right to receive the fruits of its contract.” Id.; Giuffre v. Hyundai

Motor Am., 756 F.3d 204, 210 (2d Cir. 2014) (finding defendant’s fraudulent and illegal

business practices were material and not susceptible of cure); see also N.Y.C. v. Tavern on the

Green Int’l LLC, 351 F. Supp. 3d 680, 692–93 (S.D.N.Y. 2018) (finding plaintiff was excused

from 20-day cure period where defendant continued to engage in events of default after suit was

commenced); see also Wolff & Munier, Inc. v. Whiting-Turner Contracting Co., 946 F.2d 1003,

1009 (“[S]trict adherence to the . . . cure provision would have been a ‘useless act’ in the face of

[continued breach].”).

               The Complaint alleges fundamental defaults by Delaware North going to the

essence of the contract. This is not curable. Suffolk OTB is therefore excused from complying

with the notice and cure provisions in the DMS Agreement.

VII.    PLAINTIFF’S REQUEST FOR AN ACCOUNTING IS PROPER AND
        SUFFICIENTLY PLED (NINTH CAUSE OF ACTION)

               “The purpose of an equitable accounting is to require a fiduciary to show what he

did with the principal’s property.” Wilde v. Wilde, 576 F. Supp. 2d 595, 607 (S.D.N.Y. 2008).

“In addition to returning the property, a fiduciary must return any profits generated by the use of


                                                 66
         Case 1-19-01133-cec          Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




the property.” Id. Delaware North does not deny that Suffolk OTB has pled the elements to

establish a claim for equitable accounting, namely that Delaware North Manager owes Suffolk

OTB a fiduciary duty, pursuant to which Suffolk OTB entrusted the Manager with the control of

its money and its VLT business, thereby imposing upon Delaware North a burden of accounting;

that Delaware North has unlawfully diverted Suffolk OTB’s funds in violation of its fiduciary

duties; and that Delaware North has refused Suffolk OTB access to books and records that would

establish the extent of the unlawful diversion, leaving Suffolk OTB no other adequate remedy at

law.28

                 Rather, Delaware North’s only basis for dismissal of the accounting claim is, once

 again, to proclaim it is duplicative of the breach of contract claim and its attendant legal

 remedy. But where Suffolk OTB has pled breach of a fiduciary duty, as well as the elements for

 an accounting, it may seek both equitable and legal relief at the motion to dismiss phase. See

 DiTerlizzi v. DiTerlizzi, 92 A.D.2d 604, 606 (N.Y. App. Div. 1983) (“Although a party may

 have a legal remedy, he or she is not precluded from seeking equitable relief by way of an

 accounting predicated on the existence of a fiduciary relationship.”); Darlagiannis v.

 Darlagiannis, 48 A.D.2d 875, 875 (N.Y. App. Div. 1975) (same); see also Evans v. Perl, 862

 N.Y.S.2d 814 (N.Y. Sup. Ct. 2008) (“It is also well recognized that alternative pleadings that

 include both legal and equitable relief withstand [p]re-answer dismissal.”).

                 Each of the cases Delaware North relies on involve instances where the Court

determined from the pleadings, as a matter of law, that no fiduciary duty existed, permitting it to



28
          See 300 Broadway Realty Corp. v. Kommit, 235 N.Y.S.2d 205, 206 (1962) (elements of an accounting
claim under New York law are “(1) relations of a mutual and confidential nature; (2) money or property entrusted to
the defendant imposing upon him a burden of accounting; (3) that there is no adequate legal remedy; and (4) in some
cases, a demand for an accounting and a refusal”).



                                                        67
       Case 1-19-01133-cec            Doc 17       Filed 12/11/19        Entered 12/11/19 16:44:59




dispense with equitable relief at the outset of the case.29 Here, Suffolk OTB has pled not only

the existence and breach of a fiduciary duty, but distinct injuries arising from those breaches

warranting an accounting—namely that Delaware North, abusing its position of trust, has kept

Suffolk OTB in the dark as to its dealings with Suffolk OTB’s money, and has enriched itself in

ways currently unknown to Suffolk OTB without an accounting. See Compl. ¶ 4 (“[A] full

accounting will prove the existence of additional unlawfully diverted funds and misconduct.”).

                 Compensatory breach-of-contract damages alone do not remediate the wrong

here, because Suffolk OTB, especially as a steward of public funds, is entitled to know the full

universe of Delaware North’s self-dealing. The self-dealing may well go beyond breach of

express provisions of the DMS Agreement, which are “the tip of the iceberg.” Compl. ¶ 43.

Under these circumstances, equity requires that Suffolk OTB’s accounting claim survive

dismissal at the pleading stage, because Suffolk OTB is entitled to an accounting of how

Delaware North has spent Suffolk OTB (and taxpayer) funds, and the profits it has realized from

its self-dealing at Suffolk OTB’s expense. See, e.g., S.E.C. v. Cavanagh, 445 F.3d 105, 117 (2d

Cir. 2006) (“a disgorgement remedy . . . sometimes called an accounting . . . . [u]nlike damages

is a method of forcing a defendant to give up the amount by which he was unjustly enriched.

The emphasis on public protection, as opposed to simple compensatory relief, illustrates the

equitable nature of the remedy.”).




29
          See IMG Fragrance Brands, LLC v. Houbigant, Inc., 679 F. Supp. 2d 395, 411 (S.D.N.Y. 2009) (refusing
to sustain accounting claim in absence of fiduciary relationship); Banks v. Corr. Servs. Corp., 475 F. Supp. 2d 189,
202 (E.D.N.Y. 2007) (accounting claim unnecessary where plaintiff has not alleged that defendant was his fiduciary
and where damages could be ascertained through discovery); Associated Mortg. Bankers, Inc. v. Calcon Mut. Mortg.
LLC, 159 F. Supp. 3d 324, 340 (E.D.N.Y. 2016) (same).



                                                        68
      Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




VIII. JUSTICE REQUIRES LEAVE TO AMEND TO ADDRESS ANY ACTUAL
      PLEADING DEFICIENCIES IDENTIFIED BY THE COURT

               At bottom, Defendants’ Motion demands more detail or additional allegations

where none are required. Should the Court nonetheless determine that any of the claims are

inadequately pled or fail to state a claim, justice requires that Suffolk OTB be granted an

opportunity to seek leave to amend the Complaint to correct any pleading deficiencies perceived

by the Court. See Fed. R. Civ. P. 15(a)(2)) (The Court should freely give leave when justice so

requires”). Rule 15 reflects the principle that “‘mere technicalities’ should not prevent cases

from being decided on the merits.” Monahan v. N.Y.C. Dep’t of Corr., 214 F.3d 275, 283 (2d

Cir. 2000). This is clearly a case where the merits should be addressed.




                                                69
    Case 1-19-01133-cec        Doc 17     Filed 12/11/19     Entered 12/11/19 16:44:59




                                       CONCLUSION

             For the foregoing reasons, Plaintiffs respectfully request that the Court enter an

order denying the Motion to Dismiss the Complaint.


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                                                   Respectfully submitted,

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                                              70
